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                                                                            ^^ _ . ^




                             ^^                                         {^^


                     Under the circumstances of this case , the idea that Kadisha, being guilty of perjury

              among other misdeeds as trustee , can suggest that he should be the fatal beneficiary of millions

              of dollars of profit on the 30,000 shares of Qualcomm stock he acquired from Farahnik made
          4

              possible by the use of Trust 2's money is unbelievable . He would have it that Dafna and her
          s

          b   children are well rewarded by his paying 139'0 on the money he took from Trust 2 via the Namca

          7   IJoan. Equity is shocked by such a conception of justice . It is tantamount to rewarding a thief
          8
              far stealing money . Kadisha must instead disgorge any proFt, benefit ar advantage he acquired
          9
              through his dealings with trust assets.
         to

         11          Petitioner Dafna Uzyel is awarded $15,8I $,000, plus prejudgment interest at I09'0 per

         12   annum fmm September 19, 2000. The amount is calculated as follows:

         13
                     Fetitioners are entitled to a proportionate share of the 30,004 shares. The court arrives at
         E4
              the $112,302 figure by first determining that $I51 ,004 is part of the amount Kadisha wrongfully
         IS
              stole in taking practically all the $500,000 Namca loan proceeds for his own use. But the court
         !6

         17   is giving Kadisha credit for $x38,698 of his own money {$10 ,t)C)0 being highly questioned b y

         Is   Petitioners , who contend he got $10,000 of Trust 2's money and used it for his own purposes)
         19
              which reduces the Petitioner's carreet contention that the $I 12,302 was used by Kadisha in the
         zo
              acquisition off the subject 30,004 shares of Qualcorturl stock and said stock so acquired is their
        21
              property or they are entitled to damages equal io the value of the stock and its progeny as of the
        22

         23   date of temuination of the trusts in September 2000. Damages are computed as follows; Using

         24   the 17,540 shares as acquired by Trust 2 by Kadisha's use of Trust 2 money there followed stock
         25
              splits bringing the total stock held by Kadisha from 30,000 to 460,000 shares in September 2000.
         26
              Applying 53.48 percent to 480,000 reveals Trust 2 owns or is entitled to the value of 256,704
         2^

         2a   shares which multiplied by $61.62 a share (being the lowest price between September 14 and



                                                     STA'tEMEN't' OF Di~CLSION

                                                                rzo                                       _


                                             t:: 'rs ^S^t:^
                                                                        ^^




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                                                                                                                  ^^
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                                 ,,^                                                l^               •


          t   September 18, 2004} brings the value of the subject shares to 515 , 818,00[). Petitioner Dafna
          z
              Uzyel is awarded 515,818 ,000 as damages, plus interest at 10% per annum from September 18,
          3
              2(}00.
          4
          5            The Court rejects Kadisha's reason for asserting that the percentage of Trust 2's shares

          5   should be other than 53.4$96 is that the consideration for Kadisha " s acquisition of the

          7   misappropriated shares was X221 ,000 rather than 521f3,000. The Stock Purchase and Sale
          s
              Agreement between Kadisha and Farahnik for the acquisition of the misappropriated shares
          9
              specified consideration of $210,OOD. There is na evidence that the consideration for the shares
         to
         I t ^ was 5221.004-                                    .

         Iz                       Damages - Kadisha's 1992 Sale of Trust 2's 37,504 Shares of Qualcomin

         13            -          Stock:

                           Kadisha was self-dealing when he sold Trust Z's assets when he sold Trust 2's 37,500

              shares of stock in May 1992 . He needed money for his awn use, being under substantial

         tq   financial pressure. But this time, he did not use. any "Ivan" or "investment" aclmowledgement o

         Is   his taking_ Instead, he concocted aphony Ivan of 51,400,004 to a real or fictitious person by the
         I9
              name of David Xtahban who reputedly lives in Switzerland or Israel. He might just as well be
         20
              living on the moon ar on Mars with an odd-shaped head. Nothing by way of a note , letter,
         2i
              address, security ar usual evidence of a loan has been provided by Kadisha. The Court Finds
         zz

         23   Kadisha is not telling the truth. That in fact, he just took the money for his own use. That in

         z4   addition to the 51,400,000, he took 1,200,000 with the same phony ploy that it was a loan to
         zs
              Rahban. Good story telling is not a major or credential of Kadisha. He does it badly. Theresa
         Z6
              Makhaili, Kadisha's assistant , gave undue testimony on direct examination to support Kadisha's
         27

         2a   untrue testimony about the 12ahban loan. However, she admitted oncross-examination that she



                                                       STATEMENT OF DECISION

                                                                     t21


                                                     +^^';rt^



                                                   r^z^. ^c_ ..........    .. ...    ....
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                                Q                   ^               ^      ^^
          t   never knew Rahban, never saw a promissory Hate from Rahban . and never had an address for
          2
              him. Mikhaili, who kept the Trust records. also admitted an cross-examination that she did not
          3
              make the entries on the Trust accaturting that showed Itahban 's purported $ 1.4 million loan, or
          a
              his alleged payments. The Court fords that Kadisha and Mikhaili are not telling the truth when
          s

          b   they claim that Kadisha, loaned $1.4 million to Rahban. That in fact Kadisha sold Trust 2's

              Qualcamm stock solely forhis own benefit and took the proceeds of the sale, along with other
          s
              Trust funds . for his own use in the guise of the phony loan to Rahban.
          9
                         The May ! 992 sate and the Rahban loan represent two separate transactions (albeit
         to
         r^   closely related ones) and different damages pertain to each. The May 1992 sale violat^cd

         tz   Kadisha's fiduciary duty of loyalty, his duly to refrain from us'mg Trust assets far his own

         13   purposes, his duty to keep the Trust assets separate from his own, and his duty to prudently
         34
              invest Trust 2's assets_ {The "Itahban" loan is dealt with in the section in the decision on
         IS
              Kadisha's misappropriations.) Although courts generally do not like to second-guess a trustee';
         r6
         t^   investment decisions; Kadisha's self-dealing in selling Trust 2''s Qualcomm stock to raise cash

         IB   far his own use did not constitute prudent investing. lltrthermore, Kadisha did not consult with
         14
              an investment advisor about the advisability of the sale, ar invest ar diversity the sale proceeds
         2D
              {he embezzled them instead), ar tell Dafna about the sale either beforehand or afterwards.
         zt
                         Petitioners have also raised the issue of Kadisha's bad faith in selling Trust 2's
         zx

         23   Qualcomm stack for his awn use. There is no question that Kadisha had an ever-present,

 a~      24   continuing appetite for the use of trust assets for his own benefit. This is crystal clear. 13ut w:
         z^
              Kadisha sold Trust 2's stock at its then market value for his own beneficial use, was this "bad
         zb
              Ifaith?"
         i^

         28


                                                        STATEMFNr OF DECISFOCY

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                                 ^J
          t              "Bad faith implies or involves actual or constructive fraud, or a design to mislead or
         z
                 deceive another, or a neglect to fulfill some duty or some contractual obligation, not prompted b^
         7
                 an honest mistake as to one's rights orduties, but by some interest or sinister motive. The terns
         4
                 `bad faith' is not simply bad judgment or negligence, but rather it implies the c:ansciaus doing of
         5

        .6       a wrong, because of dishonest purpose or moral obliquity; it is different from the negative idea o'.

                 negligence in that it contemplates a state of mind afftrmatively operating with a furtive design or
         s
                 ill wilt" Black's Law Dictionary; S'^ Edition.
         9
                         Kadisha breached his fiduciary duties in many ways, including, but not limited to using
        'to
        11^
                 slurs assets for his owrl benefit. Selling Trust 2's Qtlalcomm stock to raise cash for his own use

        12       and concocting the fiction of the Rahban loan to cover up his embezzlement of the sale proceeds

        13 '^,
                 wem conscious doings of wrong. Kadisha was not merely negligent. His purpose was dishonest.
        14 ^^
                 His acts were the turning aside of moral conduct. 3n short, they were in bad faith --and they
        Is
                 breached Kadisha's duty to treat Trust 2's beneficiaries with the utmasl good faith.
        16 ^

        17               Probate Cede section 36444(a) provides that if a trustee commits a breach of trust, he is

        la       chargeable with any of the following that is appropriate tinder the circumstances: (3) any loss or

        39
                 depreciation in the value of the trust estate resulting from the breach of trust, with interest; (2)
        20
                 any profit made by the trustee through the breach of trust, with intelest; br (3) any proflt that
        21
                 would have accrued to the trust estate if the ]ors of profit is the result of the breach of Qtlst.
        22

        23               Kadisha's actions in selling Trust 2's Qualcomtn stock in 3992 with na economic
            i
        za ^ justit7cation and for his own benefit resulted in a loss to the value of Trost 2, and/or cost profits,

        zs ^^
                 because of the subsequent increase in the value of Qualcomm stock. sy absconding with the
        2G
                 sale proceeds, Kadisha also foreclosed Trust 2's ability to make other profitable investments.
        z^
                 That opportunity was lost to Trust 2 forever. ]I1 addition, because Kadisha sold Trust 2's stock to
        28 ^'


                                                              STATEMENT {)F DECISION                                    ^

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                                                                                                                        1
                                                    C' f ir E   i7 :            ^^
                                                          r




                                                    ^Z    r.                     1
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                            'e'`   ^                                           ^^^ .....




                                                                         `..




         t    f raise the cash he needed, he did not have to sell his own stock. He therefore profited from the
         z
              appreciation of his stock but prevented Trust 2's beneficiaries from similarly profiting from the
         3
              appreciation of their stock.
         4
                      "1'he Court cartnoi excuse Kadisha from liability for the Trust' s loss (and his
         5

         6    corresponding gain) under Probate Code section 1644a(b). That section states : "If the trustee

         ^.   has acted reasonably and in good faith under [he circumstances as known to the trustee, the

              Court, in its discretion , may excuse the trustee in whole or rg part from liability under subsection
         9
              (a) if it would be equitable to do so. Kadisha did not act reasonably or in good faith in selling
        t4

        ^^    'lYust 2's Qualcomm stock for his own purposes and attempting to conceal his wrongdoing in the

        tz    fraudulent guise of the Rahban loan. Kadisha therefore cannot be.excused from liability for             I
        !3
              Trust 2's lass from his self-dealing sale of its QuaJcomrn stock (or for his corresponding gain).
        !4

        !5            Accordingly, on this claim, the proper measttre of damages is $35,3$9,24x, plus

        16    prejudgment interest from September 19, 200(1. This is calculated as follows.
        t^

        ^a            Kadisha improperly sold 37,5(X} shares of Trust 2's. Qualcomrn stock in May 1992 for            i

        is    $801,[XX). Interest on the $801,04X3 as of September 18, 2000 was $781,750 (using 13^ interest ^
        2a
              from May 1 1992 until November 30, 1996 and IOgfv thereafter.} Petitioners' total benefit from
        21
              the May 1992 stock sale was therefore $801,000 plus $781,750 or $1,582,758 (" ]'etitianer's
        2z
               1992 Sale Benef is"}. U!! September 18, 20()0, 37,504 shares, after stock splits, had grown to
        23

 R
        24    646,000 shares. Using the stock price of $b1.62 per share that the Court has used or! other

        25    claims, the 6[X},()00 shares were worth $36,972,000 on September 18, 20011. A^fterdeducting
        26
              Petitioners' 1992 Sale Benefits ($1,582,758) from $36,972,00(?, the damages are $35,389,242.
        27

        zs


                                                    STA'!'EhiENT i)F t)ECISION                                        '

                                                                sza


                                                   „r    ,.,             ^^                                           .
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                                                                                  ..,   ^       -




                                                                           cJ
          I            In considering what measure of damages to assess against Kadisha for his many
         z
               derelictions as tnlstee, the CotFrt is fully aware of his effort to have the court ignore the totality o
         3
               leis conduct, which reveals his complete pattern of treating Trust 2's assets as those which he
         a
               could embezzle and use for his awn purposes, and have the court focus on denial of each
          5

         fi    embezzlement, converting each to some sort of minor transgression of his trustee's duties. The

         7     compartmental device of Respondent 's as a cover-up is not acceptable to the ootrrt as a blind-
         8
               sided approach . This is not to say the court ignores analyzing each of the claimed abuses of his
         9
               trust as alleged by the Petitioners brat such analysis may reveal a pattern of conduct that produces
        90
         11i
               a true picture of Kadisha 's embezzlement driven takings. A look below the starface of the veneer

         tz    of his argument reveals the truth.

         13
                       Petitioners, in seeking damages elect to ignore the sale of the 37,Sllt} shams and treat it as
         14

         1S    though it had never happened, contending Kadisha's sale was a part of his intent to embezzle

         16    Trust 2's money, and, therefore, the Court must treat the sale as not having been made, and the
         t7
               stock should have been held until the [emanation of Trust 2 when it was worth X35,389,942.
         78

         19            The truth of the business is that Kadisha needed money, and this is plainly obvious as be
        zo
               then made the fictitious "loans" to RebharL They were nothing more than a clear integral part of
        zt
               ^ the embezzlement by Kadisha of Trust 2's money.
        22

        23
                       Kadisha's defense is that all is forgiven once he repaid the Rebhan embezzlements and
        24
               paid interest thereon. As empathized herein, Kadisha as embezzler does not determine when he
        zs
               is to return the embezzled money yr what penalty shall be imposed upon him for his
        26

        z7     embezzlement. The Petitioners have the option on how to treat the embezzlement. They were

         zs    never consulted about the salt and obviously Kadisha did not suggest the Petitioners seek legal


                                                      s3'nT^si:rrr of osclslo^v
                                                                  tzs




                                                 a,
                                                 gyn. ,°...._..__...^_..^^^ ^ .^__m..__
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                                   V                                           ^.^



          i    i advice about the sale. So Petitioners have every right to contend we are seeking damages
          2
               ^ you for the amount of money our Qualcomm stock was worth had you held ii until your control
          3
                    over the trusts were terminated. Hence. the Petitioner Dafna Uzyel is awarded X35,389,242 in
          A

                    damages as computed above, plus interest at the legal rate of 10°k per annum as andd from
          s

          6    I, September 18, 2000.
          7
                           Damages: Kadisha's Misapprapriatio^us of Trust Winds.
         s
          9
               '^          'The Uzyel `Trusts provide that: { l) jtlhe principal of the Toast estate be invested in a
         to
                    conservative manner with primary consideration being given to preserving prtncipal and
         ti.
         t2    ^ protecting against inflation , {2) within such guidelines to maximize the income from the trust

         !3         estate, and (3) the trustee may lend money at an adequate interest rate and with adequate
         t4
               ;security.


         tb                Kadisha's misappropriation of millions of dollars of trust-money from 1988 to 1996 were

         17         not loans made at an adequate interest rate or with adequate security, as lCadisha contends.
         is
                    Kadisha embezzled the funds in flagrant violation of his fiduciary duties. In fact, Kadisha could

                    have been charged under the Penal Code for Grand Theft (Penal Code section 487} far
        20

        2t          embezzlement forhis misappropriations. Section 503 of the Penal Code defines embezzlement

        22          as "the fraudulent appropriation of property by a person to wham it has been enwsted."
         z3

         2a                Fortunately, this does not n-quire the Court to forego awarding damages, as Kadisha

         25         erroneously contends.

         26
                           Where the fact of damages is certain, the amount of damages need not be calculated with
         27

         2tt ^^ absolute certainly . { Emphasis in orig'nlal; GHKAssociates v. Mayer Group, Inc. (lac District,


                                                             5TA7EMENT UP DEC35t0[^

                                                                       126




                                                  ,..   '^                   ^^
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                                (^


           t    1990) 24 Ca1.App.3d 856, 873, citing Channell v. Anthony (1976} 58 Cal.App.3d 290, 317 and
          z
               Noble v. Tweedy (1949} 90 Cal.App.2d 738, 745, 746 X203 l'.2d 778].) " The law reQU #res only
          3
               that some reasonable basis of computation of damatfes be used , and the dsunages may be

               cornpated even if the result reached is an aparaximation:' [Emphasis added; Id At p. $74,
          S

          6    citing Allen v. Gardner (1954) i26 Ca1.App.2d 335, 340 .) "'T'his is espedall rLtrue where...it #s

          7    the wrongful act of the defendant that have created the dill#"iculty in proting the amount of
          8
               less of profits ... or where it is the wronE;f'uN acts of the defendant that have caused the other
          9
               party to not realize a profit to which thafparty is eatitled." (Emphasis added ; Id. Citing
         Io

         !1
               Ramona Martyr Convalescent Haspifal v. Care Enterprises (1986} 177 Ca].App.3d 1120, 1140;

         I2    Mann v. Jackson (1956) 141 Ca1.App.2d 6, 12, and James v. Herbert (1957} 149 Cal.App.2d

         13
               74I, 749.} The selection of which measure of damages to apply is within the sound discretion of ^
         la
               the trier of fact. (Id.) The measure that most appropriately compensates the injured party for the
         IS
               E Iass sustained should be adopted. Strebel v. Brenlarlnvestments, Inc., supra, 135 Ca1.App.41h at
         IG

         37    p. 749.

         18
                         Furthermore, this is a court of equity and:
         19

         20
                                 "I'lte object of equity is to do right and justice. It 'does not wait
         zl                     upon precedent which ezaetly squares with the facts in
                                controversy, but will assert itself in those situatiaru where right
                                and justice. would be defeated but for its intervention.' 'It has
                                aiways been the pride of courts of equity that they will so mold and
         23
                                adjust their decrees as fo award substantial justice according to the
  k      za                     requirements of the varying camp# icaiions that may be presented to
                                them for adjtldieation.' [Citations omitfed.J 'The powers of a
         is                     court of equity, dealing with the subject matters within its
         ztr                    jurisdiction are not cribbed or conf'med by the rigid rules of Naw.
                                 From the very nature of equity. a wide play is left the conscience
         z7                     of the chancellor in formulating his decrees. It is of the very
                                essence of equity that its powers should be sa broad as to be
         zs                     capable of dealing with novel conditions.' [Citation omitted_j
                                Equity acts `in order to meet the requirements of every case, and to
                                                      STAT^MEN7' t]F ^ECfS1QN

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                                                  ^•t's,z
                                                 ^nn^ - .......^._._. _1-^V _.,.
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                                (^                                                           ^_^


           t                     satisfy the needs of a progressive social condition, in which new
                                 primary rights and duties are constantly arising , and new kinds of
           2
                                 wrongs are constantly comtttsttecl .' [Citation omitted.]"
           3
                 Toscana x Green Music, supra, {2004) i24 Ca1. App.4`^ 693-694.
          4

           5             in the case before the court, prime consideration must be given to suction 16440 of the
           6
                Probate Code. !t provides, in pertinent pacts, as follows:
           7

           8             "(a)    if the trustee commits a breach of trust, the trustee is chargeable with any of the
           9
                 following that is appropriate under the circumstances.
         'l o

         n^              (i)     Any loss or depreciation in value of the trust estate, with interest.
         12

         13              (2)     Any profit made by the trustee through the breach of trust , with interest.

         t4
                         (3)     Any profit that would have accrued to the trust estate if the loss of profit is the
         15

         16
                result of breach of trust."

         17
                         It is the Respondent ' s position that"Whether takings were unauthorized "loans" or even
         I8
                outright "looting" makes no difference -- the liability is limited to 10°x, simple interest."
         !9

         2U
                         The Respondent 's position negt;ires analysis.
         2t

         22
                         The Respondent ignores Section 16440 , Section { axi). This section clearly states the
         23
                trustee is liable for "any loss or depreciation in the value of the trust estate , with interest."
         24

         25              There are clearly two factors, i.e., {1) the loss, and {2) the interest on the loss. ©bviously
         z6
                 if the trustee lost thousands of dollars for which he is liable, the loss is not reduced to simple
         27
                ^ interest at i0°,fi . The interest acexues on the money lost. The statute so states, "with interest."
         ze

                                                          SI'ATEMLM' l?I? t]^Ct51olY

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                                                     E.:93 ^ : .A ^ 1 .. ..^.__., v,^._:......,..__ ..., .._.,._..._.
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                              ^^                                                        ^ ^^


          1           With the foregoing in mind, how can the court fu loss or profit by Kadisha's unlawful
          2
              takings of trust money?                                                                                            .
          3

          a           The Petitioners gear the Petitioners' right to damages under the claim the Petitioners lost

         s
              money by Kadisha's takings in that the 13% interest rate Kadisha set as his idea of a fair return 'i
          6
              should be disregarded in favor of the Callrt determining from the evidence that a higher amount ^I
          7
              than just interest (the 13%) should be paid upon the evidence presented that high quality second ',
          S

          9   nest deeds, at the time of the takings, were paying 1596, plus five points.                                            ^I

         1Q
                      Two experts were presented, Charles Berry for Petitioners and George Katzer for the
         ^^

         12   Respondent. Berry had 2"d Trust Deeds paying IS9o, plus five points. Katzer had 2°d Trust

         13   Deeds paying 11 to 139'o and three to six points.
         14

         is
                      But no matter how you cut ar slice it, Petitioners are talking about interest on money u

         36   wrongfully by Kadisha. The loss element is not present as contemplated by the statute which

         17
              contemplates action by the trustee in dealing wiEh a trust asset improperly causes a lass. The 1
         i8
              f is recoverable, plus interest. 'The failure to maximise interest on money taken is not the kind of
         19
              loss contemplated by the statute. Obtaining interest on money is a value judgment requiring
        20
        zl    many considerations not the least of which is the security, if any, supporting the taan. Second

        22     trust deeds require acute attention to the valve marketability of the suh^ect property and the
        23
              percentage of that Figure which the first trust deed represents. And the holder of the second must
 x      24
               be able to cover or take aver Ehe t"ust crust deed. And always, there is the haunting question of a
         zs
              real estate slump substantiaiIy reducing the market value of the property. placing second tnut
         26

         27   deeds in jeopardy. The bottom sine as to second trusE deeds buyers is whether the interest rate

         28   (and perhaps points) is commensurate with the risk. So it is really ail about intet^st and being

                                                                                               _
                                                    srn^^>H^rrz o^ ntrclstoly
                                                                     129




                                                              r.;'
                                                        Pti
                                                                Y.
                                                                     ._. _....   ....          .. .... . __ .. ..   ..........
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                                  ^                                                '^ _.^




                               ^^                                          t..^!


          !    about interest. There is na compeasable "loss" under the terms of Probate Cade 16440(a}{lx2)
          Z
               by the Respondent not investing in second trust deeds as apposed to his paying 1596. Hence,
          3
               Petitioner's request far damages arising outof Respondent's failure to pay the equivalent secon^
          d
               trust deed interest cafes {and paints} on the money he purloined frori! the trusts is denied.
          s

          6^   Petitioners are entitled to 1096 percent simple interest an the money taken, but Kadisha gets na

          7    credit for his paying the excess over 10%, i.e, three percent.
          a
          9            RE: KADISI-IA'S FORFEITURE OF ANY RIGHT TO ENFORCE ANY

         'l0   ^ IN ANY OF Tilly TRUST TNDENT[3RF.5 AGAINST THE PETITIONERS.
         to
         lz            Kadisha is grossly in error when he says that he was allowed to make loans to himself

         !3    because of the Trusts' conflict of interest clauses.
         t4

         is            Civil Code section 1670.5 provides that if a court, as a matter of law, Finds that a contract

         !6    far any clause of the contract was unconscionable at the time it was made, it may refuse to

         I7
               enforce the contract or the unconscionable clause, or` limit the application of an unconscionable
         18
               clause so as to avoid an unconscionable result. The Cotlrt may also elrforce the remainder of the
         19
               i coritracx. This section applies either dsrectly or by analogy to the Trusts.
         zo
         zt
                       ]n determining whether a provision is unconscionable, the Court must look to the facts at
         22
               the lime the instrument was executed . The facts at the time the Trusts were executed are as
         zs
         24    !follows.

         25
                       After her husband's death. Dafna was under Kadisha's influence, dependent on him and
         z6

         27    in a confidential relationship^with him. Dafna needed legal advise , and Kadisha ratferred her to

         zs    his nwn attorney, Hugo DeCastro . Even prior to being appointed Trustee, DeCastro


                                                      S7A'r1+h1F.NT OF 1)^CtS10N

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                                                        4;::1T3l,^^;           ^^


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                               ^^                                       ^ ^^^

         t   communicated almost exclusively with Kadisha about the status of Dafna's assets rather than
         2
             Dafna. After Kadisha was chosen to be the trustee, DeCastro represented both Kadisha, as
         3
             trustee, and Dafna, as the settler. As a result of his firm's involvement with the fmancially
         4
             troubled Omninct , DeCastro also knew that Kadisha needed money . DeCastm never represented
         s
         6   Dafna with the requisite undivided loyalty grid never fully protected her from Kadisha's need fo:

             money and the penchant for avoiding his legal and ethical duties. In fact, he promoted Kadisha'
         a
             interests aver Dafna's.
         9

        10           The purported exculpatory provision and the conflict of interest provisions are prime
        II
             examples. As to the eor^flict of interest provisions, DeCastra knew that Kadisha needed money
        12
             to support his va^iaus business interests -- particularly the failing Omninet. This knowledge
        13
             should have prompted biro to craft Trust provisions that protected Dafna and her children from
        14

        l5   Kadisha using Trust funds to satisfy this need. Instead, he did the opposite by inserting conflict

        16   of interests provisions into both Trnsts that Kadisha interpreted as invitations to use the Trust
        17
             ^ assets exclusively for his own benefit.
        is

        19           Irr fact, there is an even more fundaments ! issue as [o why Trust 2 was set up in the fu^t
        20
             place. Only Trust 1 (which was established far izzet's and Joelle's benefit) was a condition to
        21
             the settlement with LsiIian Nomaz. Dafna was natrequired by the settlement {or any other
        z2
             reason) to limit her access to her own assets by plac'^ng them in a trust. An attorney who was
        23

        2A   protecting Dafna's interests would undoubtedly have painted that out to her. -Instead, Dafna's

        25   assets wound up in Trust 2, under the contiol of Kadisha. who DeCastra knew needed money.
        2G
             There can be no doubt that DeCastro was acting in Kadisha's interests raiher than Dafna's in
        z^
             establishing Trust 2.
        2a

                                                    STATEMENT OF DECFSION                                     ^ --1^

                                                              131
                                                                                                                   I




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                            '^^    ^                                           .^ ^^




                                  \^^                                      1^. ^             .



          1            The egregiousness of DeCastro's improper favoritism towards lCadisha is amglifed by
          2
               the fact that Dafna was incapable of understanding DeCastro's conflict of interest, the danger
          3
               that that confict of interest posed or any of the Trust provisions . (l)eCastro never even informed
          A

               Dafna of the ootlflict .} Dafna was thus essentially unrepresented, incapable of tlndetstanding the
          s

          6    Trust provisions , and a victim of Kadisha's plan to gain oontrot of her assets and DeCastro's

          7    acquiescence izt Kadisha ' s plan.
          s

          s           The Court is not going to set forth all the sections of the various trust agreements that

         io    cannot be enforced by the Respondent due to the facts Mrs. Uzyel was never independently
         Its
               represented . DcCastro, her purported lawyer in the making of the original agreements, was
         12
               never really her lawyer .. He was Respondent's lawyer and ryas grossly conflicted , ea^hibited by
         t3
               his including covenants against her interest . There are two major ones, the first allowing the
         !4

         is    Respondent to engage in conflict of interest transactions ; and the second being an exculpatory

         lb    clause holding the Respondent harmless for his conduct as trustee . There is no need to mention
         17
               the others unless Respondent attempts to rely upon same. All sections against Mrs. Uzyel's
         Y$
               interest shall be disregarded and declared void. While there is evidenceamendments to the trust
         t9

         zo    agreements were prepared by counsel , they exhibited their desire not to be accused of creating

         zl    such outrageous documents by leaving their name off of same . $ut with or without the name of

         zz
               counsel, they are outrageous and no provisions of any of them may be enfot^ced against Mrs.
         23
               Uzyel. They are void as to enforcements against her.
         2a

         25            The Court has already indicated that Kadisha's misappropriations were nol "loans" as he
         26
               insists on calling them. Ewen if they were loans, they violated the terms of the Trusts because
         z7
               they were unsecured. Contrary io Kadisha `s wniention, the $5 milliondollar life insurance
         28

               policy that he took out naming the Trusts as beneficiaries did not constitute adequate security
                                                        STA'rEMEN'F OF DECISION

                                                                     132




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                                                       -, s ^ , t•           O
                                             __             __ _            _ __    ........................ .. .............

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                                   r1
                                   L^                                   ^          ^^

           1   since it only protected the Trusts in the event Kadisha died. This was highly unlikely s'Irtce
           z
               Kadisha was only in his thirties at that tittle. The real reason for the life insurattce was to protect
           3                                                                                                                    I
               Kadisha's family if he died and Petitioners discovered that he had taken millions of dollars from '
           a

           s
               the Trusts. ]f he lived, there was Wa security for the misappropriaxions.

           6
                       Kadisha's claim that he "guaranteed",the Trust and that his guaranty was adegttate
           7
               security is nonsense. For one thing, nothing in the Trusts constitutes such a "guaranty" Even if
           8

           9   the Trust contained such a "guaranty," Kadisha's financial.condition would have made it                          I
                                                                                                                                i
          to   '^ impossible for him to honor it. Finally, since the Court is disregarding all of Kadisha's and his

          li
               witnesses' trial testimony. there is no evidence to support any of Kadisha's contentions regarding
          Iz
               his misappropriations.
          i3

          14
                       Kadisha also incorrectly^claims that Probate Code section 16441{a) limits the Court's
          is
               ability to measure Petitioners damages l0 1D96 {rather titan the l S^Yo the Court is awarding).
          15
               Respondent's argument is incorrect. Probate Code section 16441(a} only applies to interest on
          f7

          Is   the awards made under Probate Code section 16440, not to the awards themselves.

          I9
                       Damages: . Kadisha's Conflicts Re the Carson '43 Paxtuership.
          20
          21
                       Kadisha, confident of never having to answer for his trustee du€y derelictions Wretched
          zz
               the Trusts into another incredible oorrflict of interest arrangement.
          23

   ti     24
                       Carson '93 was forrWed on July I2, 1993. (TE 608.) Tire general partner was Texollini,
          25
               of which Kadisha was a shareholder, president and CEO. (TE 161e, 6[17.) The limited partners
          26

          z^
               were Texoilini, Kadisha, Kadisha's brother (Daniel Kadisha). Kadisha's father (Abraham

          28   ^, Kadisha), Kadisha's father-in-law {Parviz Nazarian), and Kadisha's friend (Lean Farahnik). ^I


                                                       STATLI^7ENT OF DBCiS^Orl

                                                                             133


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                                ,.,^

           1   ti0$.) Trust I contributed capital of $475 ,000 to Carson '93, and Trust 2 contribtted capital of
          z
               $125,000. (7`E 614, 526; 3497.)
          3

          4            Texollini made capital contributions to Carson '93 of $20,000 as a general partner and
          5
               $480,000 as a limited partner. (TE 60$.) Carson '93 was fon^ed io acquire^the Presidiv
          b
               Property, which it purchased for $4 million. (TE 616a-i.) Carson '93 borrowed $2.4 trillion

               from First Credit Bards to purchase the Presidio Property.. The loan was secured by a first deed
          S

          9    of ttvst on the property. Concturently with the closing of the $2.4 million loan, TexoIlini:

         X10   borrowed an additional $500,000. Texollini's loan was secured by a second deed of trust on the
         Ire
               partnership property, which made the partnership Iiable if Texollini defaulted an its Ioan. (TE
         tz
               617 a-g, 618.)
         13

         14
                       Texollini also received an additional $250,000 at the closing to make tenant
         IS
               improvements.
         l6

         t7            Petitioners are in error in their assumption Texollini got its $500,000 back, and therefore
                                                                                                                          i
         18
               had no money in the deal, and hence should not have shared pro-rata with the other investors.
         !9
               Texollini was still liable on its 2"d trust dced.
         2t)

         2l
                       Petitioners also failed to make their case in contending Texogini got a rent advantage

               from Carson '93 due to Kadisha's oont^ict of interest. Petitioner's expert, Smart, got up-ended
         23
                                                                                                              I
         z4    by srspondent's expert Andrew Minstein. Smart failed to do his homework in failing io inspect I
                                                                                                                     I
         zs    the interior of the subject property, which was ill-suited for warehousing or manufacturing
         zb    wiihout substantial modification.                                                                     +I
         z^
         zs


                                                      S'I'ATEMF.i+iT 4F DECLSION
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                                  V                                               LJ


          1           In January 1997, Kadisha purchased Trust 2's interest in Carsoa'93 for$190,000 withou^
          x
              obtaining aft independettt appraisal of the value of Trust 2's interest or Dafna's consent. (TE
          3
              921} The purchase breached Kadisha"s fiduciary duty to avoid conflicts of intenesi since he was
          4
              both the buyer (as an individual) and the seller (as the Tlttstee of Trust 2}, and he set the price.
          s
          6   1~ollowing Kadisha's purchase of Ttvst 2's interest, Carson '93 refinanced the Presidia Property

          7   for $4 million and made distributions io the partners. Kadisha received the distributions that
          8
              Tnlst 2 would have received in the absence of Kadisha's improper sale of Trust 2's interest to
          9
              himself. Additionally, in November 2000, Kadisha sold his Carson '931imitecl partner interest,
         10

         11
              which included Trust 2's partnership interest. Kadisha profited from his wrongful acquisition.of

         lz   Trust 2's interest and musk disgorge his profit.

         13
                      Accordingly, on tleis claim , Petitioners are awarded damages for Kadisha's profits
         I4

         is   in the amount of $27A,533 plus prefadgment interest at the rate of 1.096 per aanum from

         16   September 19, 2000 ^
         17

         18

         19

         20

         21
              ^' Carson 93 Damages Calculation:
         22

         23
                                  DATE                        AMQIJNT           I i?96 SIMPLE   DAMAGES
                                                                                 II1I'EREST
         2a       January, 1997                             (3l90,D00)                          (5190,000
  h               (R     ndent Bu s Trust 2's Interest.
         25       t]ctnbu, 1988                             S 147,060         (538,000)         ($ 80,940) .
                  (52 Million Itcfinancin Distribution
         26       February, 1999                            $ 36,755          (S 1.417}         {S 45,592}
                  {5500,000 Retinancin Distn'bution)
         27       November, 2000                            5194,000     _    (S 1,028)         S143,380
                  Ines ndent Sells Trust 2 's Interest)
         28       lone 30,2006                                                581,153           5224,533



                                                          S'tAT)rNl'ENT Oi^ AECIS103Y

                                                                        I35
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                      ^'A
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          1             Kadisha incorrectly contends that his f 947 purchase of Trust 2's Carson '93 J xd
          2
                partnership interest was with Dafna's consent; at fair market value, and that Petitioner's measure
          3
               ^ of dartiages is incotrecL
          4

          5
                        The Court does not believe Kadisha's testimony that in December 1996 he met with Ron
          6
               Levi, who informed him that Dafna wanted to sell Tt^st 2's Carson '93 Ltd partnership interest ^,
          7
                in order to have money .with which tv purchase a home. Ron Levi denies that there was any
          8

          9    meeting_ Even if there had been a meeting, Kadisha has not established that Ron Levi was

        do      Dafna.'s agent. His acts, if any, therefore are not binding vn Dafna.
         tt,
         Iz             Kadisha's testimony is also nai believable because he was already obligated under the

         13     Trust and amendments to make up to $1 mil! ion available far the acQuisition of a home for
         t4
                Dafna. There was therefore no need to sell the partnership inter^esi. Moreover, if Kadisha had
         is
                intended to use the funds io buy a house for Dafna, why did he cause Trust 2 to use $ Ifl5,000 of
         16
                the ^140,i)00 he paid for the partnership interest to repay Trusi 1 for monies advanced?
         f7

         i8
                        As to damages, Respondent argues that Petitioners suffered no damages because he paid
         !9
                fair market value for Trust 2's pannership^interest. Andrew Minstein testified, however, that fair'
        za
        zt      market value is the price a willing buyer wilt pay a willing seller in an arm's length transaction. ^
                                                                                                                        I
        22      Since Kadisha was bath the buyer and the seller, the sale was not an arm's length transaction
        23
                between a willing seller and a willing buyer who come to a rraeeting of the minds. This was an
        24
                egregiously cattflict,ed transaction.
        zs
         2a             Dafna was not given an opportunity to consult an independent advisor about the sale or
         27
                negotiate an arm's length transaction. Dafna was never given ghat choice. She was not a willing
         28



                                                        STATEMF..N'r OF DECISION

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                                                    k,-iii air.               .^^
                                                    :F^^l:^^a £^ .__.._v.._..^._W...__.^...___   ...^.__
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 F
                        ^o
                                ^^ ^                                                 ^




           1    seller. Kadisha established the price, without obtaining an appraisal or Dafna's consent. The
          z
                Court is therefore disregarding Minstein's testimony.
          3

           a            Kadisha also incorrectly contends that Petitioners' damages should not seclude any

          5
                distributions Kadisha received from the 1998 rcfinartce of the Carson '93 Ltd properly because
          6
                I, Petitioners would thereby receive the benefit of the distributions without being saddled with tha
          7
                liability for the loan. Kadisha has not proffered a statute or case that permits such a result.
           e
          9     Adopting Kadisha's argument would allow Kadisha to improperly benefit from the use of Trust

         la     assets -which the Court wil! not allow.
          It

         1Z             Probate Code section lt>44Q mandates that Kadisha disgorge^any proFt he received from

          13    a breach of fiduciary duty. As a result of Kadisha's improper purchase, he received Trust 2's
                                                                                                                          i
          to
                .share of operating cash flow distributions, refinance distributions, and the proceeds from the sale I^
          is
                of Kadisha's Carson '93 Ltd partnership interest. Kadisha produced no evidence tha[ he repaid
          !6
                any portion of the refinance money or is liable for repaying it. .
          t7

          t8'
                        Tice Petitioners seek damages against Kadisha arising out of Kadisha's sale of Trust 2's
          19
                53,348 shares of Qualcomrn stock in April 1999.
         zo

         21                    '                                                                              ^      1
                        Since equity is the laboratory for ascertaining acid formulating justiea unavailable at law,
         22
                a consideration of the facts relevant to Ksdisha's selling 53,348 shares owned by Trust 2 must be
         z3

         2A     I considered.
     R

         25
                         It is difficult to glean just what Kadisha had in mind when he made the salc. There is no
         26

         z^
                evidence he considered or camplicd with Probate Codc section 16447(a) which provides:

         28



                                                      S'FATEMLNT OF DEC1StON

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                                                              s                                                           `
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                                                                           l^


           1                            "A trustee sha11 invest and manage trust assets as a prudent investor
          2
                                would, by considering the proposes. terms, distribution retlttircments and other
          3
                                circumstances of the Tnist: '
          4

          s
                        There is no evidence Kadisha acted as a "prudent investor." And he^never sought
          6
                professional advice about the sale . Further, the catch-all phrase "and other circumstances of the
           7
                trust"' is of no help to Kadisha.
           B

           9
                        Kadisha's unacceptable creativity as to the facts as to why he made the^sale arTd what he
          k0
                did by altering the facts concerning the sale^are of substantial concern to the Court , certainly
          lli

          12    revealing some sort of character defect but not of such magxlittade as to alone give cause for the

          [3    ^ Court tv award damages.
          f4

          15
                        Damages: Re Claim that Kadisha breached hls fiduciary daties and retaliated

          16            against Petitioners for suing him lay not talcing any action as Trust 1's So,oOO shares

          17
                        of Qualcornm stock radically declined in value.
          18

          is            Kadisha neglected and refused to take any action to preserve the value of Trust I's

         2a     80,000 shares of Qualcomm stock after Petitioners sued him. On October 27, 1999, Petitioners
          21
                filed their initial petition against Kadisha. On Ianuary 3, 2000, the value of Ttvst l's Qualcomrra
          z2
                stock at the opening of the market was $15,940.000 and the stock constituted approximately 9096
          23

          24    of Trust I's assets. (TE 1394, 1960.} By the time Kadisha turned over the $0,000 shares of

          25    Qualcotntn stock to Petitioners in September 2000, the value of the stock had destined by over

          26
                 $!0 mill'son to $5,299,944.
          27

          28



                                                      STATEMEMt' OF DECISION             ^   T          T

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                                                    rn^^^^^^...__.._.._ ^----^..._._,.__._^_...,

                                                    ^^^^^ ....__._....._.. ^aY^_.__...____.__                   .
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                             `.



                                  ^^                                        {_)
           t           At the same time the stock value was declining, Kadisha was diversifying his own stock
           2
               portfolio by buying trillions of dollars of stock in other public companies.
           3

           4           Kadisha knew chat he was duty-bound to fulfill the requirement of Trust 1 "that the

           5
               ^, principal of the trust estate at all times be invested in a conservative manner with primary
           6
               consideration being given to preserving,principal and protecting against inflation, and with such

               guidelines to maximize the income from the trust estate." (Trust 1, Art. C., TE 44.) He also h,ad
           8

           9   ^! fiduciary duties `Yo preserve the trust property" under Probate Code section 16006, to act as a

          10   I^ pnident unvestor under Probate Code section 1b047, and to diversify the Trust assets under
          t^
               ^ Probate Cade section 16048.
          l2

          l3           Kadisha's failure to diversify Trust 1's assets and to hold approximately 90cYo of the
          14
               assets in Qualcomm stock was neither conservative nor prudent because it placed all of the
          15
               Trust's eggs in one basket. It also illustrates that Kadisha did not have an investment strategy
          is
               Trust 1's assets, as required by Probate Cade section 16047. As a result of Kadisha's failure to
          t^

          ^s   diversify Trust 1's assets, Trust l was eztremeiy vulnerable to volatility in the price of

          19   ^ Qualcotnnl stock. This vulnerability became reality. On Ianuary 3, 2000, the first trading day in

         20
               2000, the stack opened at $199.25 per share. It traded as low as $174, and closed at $179.3I.
         21
               Therefore, iu one trading day, Trust 1's Qualcornm stock declined in value by approximately
         zz

         23
               $1,595,200 or about 10%. The stock declined further after the close^of business and opened

         24    nearly seven points lower the next day. Thus, the stock last another $560,000 overnight. In

         25    total, the stock had declined by about 13°,b by the opening of the market an 9anuary 4, 2000.
          26

          z^           Kadisha admitted that he was following the price of Qualcomm stock an a daily basis in

          zs   2000. (RT 22, 8-7-03.) Therefore, he was aware of these dr_arnatic Brice declines. The nearly


                                                      5TATEMEtV"1' Ole DEC1S10AI

                                                                   i39



                                                              z.
                                                   s:f^Cfl^'f 4



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                                                                                         ^^


           l       $1.6 million decline in value in one day should have been awake-up call for Kadisha to take
          z
                   immediate action to preserve Trust principal . l+levtttlteless, ate did nothing , He got another
          3
                   wake-up call when the market opened an January 4, and again on January 5, and he did nothing
          a
                   to preserve Trust principal . He never informed Petitioners or their counsel about the situation,
          5

          6        and he never consulted with an investment advisor about stemming the Trust ' s losses. When he

          7        finally fumed the Trust assets over to Petitioners, the value of Trust 1's Qualcomrrt stoat had
          8
               ^ declined by apprnxirrtately 609'0; from $15,940,000 to $5,299,944.
          9

         to                 The Court finds that when Trost 1's $0,0(X} shares of Qualcon4m stoc3c declined ifl valve
         11,
                   from $176.12 (January 3, 2000} to $156.44 (January 5, 2000) d TE 4633 J , it was an unacceptable
         12
               f breach of duty by Kadisha to not act to preserve the asset. Kadisha was required under the terms
         i3
                   of the Trust and the Probate Code to preserve the Trust's principal and had demonstrated the
         to

         t5        investment skills that would have enabled him to do so Z6 Nevertheless, he did nothing to

         16    ^ preserve Trust principal in January 2000 or at any other time over the nine-month catastrophic
         i7
                   drop in the share value of 'IYttst 1's Qttalcotnrn stock.
         is

         t9                 He did nothing, in fact, other Shan watch the stock continue to dxIine. Kadisha's
         2t)
                   oantinuing to hold the stock was a gambler ' s choice not available to him . He could gamble with
         21
                   his own stock , but not the beneficiaries .' 13y doing nothing to preserve the value of Trust 1's
         2z
                   Qualcotiun stock upon a $19.6$ per share {or a total of $1,575,400) decline in value, Kadisha
         23

         xa        violated his fiduciary duties to preserve principal , to use the full extent of his skills in investing

         25

         26
                   ^ From 1991 tltrongh 2ooa, Kadisha was a Qualcomm director, owned and sold thousands of sham of his
         z^        Qualconun stock , bought a^ Sold stock is other companies, and demonstrated extensive knowledge of complex
                   transactions in dealing with publicly traded stock, por example , in DeCemlxr 1948, Kadisha collared SW,t?IXl
         28        shaves of his Qualcomm stnek. In preserving '1'rust 1's Qualcomm stock al^r it lost 159b of its value, he cautd have
                   sold it, enteitd into n collar , purchased a'put," placed a stop-loss order with the broker, or utilized other available
                   options.
                                                                STATEMENT OF DF.Gt51ON

               ^                                                              faa                                                 .,          'i
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          t   the Trust assets and to act as a prudent investor. A prudent trustee cannot stand^idly by when the'
          z
              stock rrlarl`et goes into a free fall,. particularly when a stack comprises about 9096 of the trust
          ^                                              '
              assets. It requires a different state of mind than a gambler's chaicc.
          4


          ^           Accordin gly, an this claim, the Court awards Petitioners the sum of $5,792,000 plus
          6                                                                                                          ',
              prejudgment interest from September 19, 2000. The amount represerAts the dif[erence                    'I
          7
              between what Petitioners should have received if Kadisha had protected the stock upon a
          s

          g   19.68 decline and what they actually received {i.e., the value o [Trust 1's Qualcamm stack

         io   when it was wally turned over                ). (The $.5,7x2,0(}0 is arrived at by multiplying the

         it   total value of the sub      30,000 s         of stack on January 5, 2000 at 156.44 per share}
         ^2
              which equals $11,71                  cling the 75.05 per share due September 20, 2004 (which
         ]3
         14   totals $5,923,200) _$,5,792,000.

         l5           Kadisha argues (incorrectly) that he should not be found liable far Trust 1's losses           'i

         t6   because there were periods in which Quaicomm's stock rase (briefly) during the nine-month              ^

              decline, and it was therefore impossible to predict its future price. However, Kadisha has it
         is                                                            ^                                             ^
              backwards. He created the situation in which 9096 of the principal of Trust 1 was highly
         I9

         zo   sensitive to fiuctuatians in the price of Qualoonun stock by holding such a High concentration of

         2t   stock rather than diversifying. The unpredictability of the stock price only made it more

         az
              imperative that Kadisha take action when the stock's price began to fall so grecipitausly since he
         Z3
              had made Trust 1 so vulnerable to dips in the price of its Qualcoxnm stock..
         za
                      Furthermore. Kadisha's failure to take advantage of any of the price increases to
         25

         z6   mininuzc the beneficiaries' lasses adds to the deplorability of his conduct rather than excusing it.

         Z7   It also supports Petitioners' claim that he was intentionally tetal'utting against them for suing

              him.

                                                     STATL14i1?NT OF t)EC#StON

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                                                . ^^S.i ^ ... ._.-y... _..._. ^   L _____^---._.^
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                                 `^                                          ^^


                        Kadisha also incorrectly contends, based upon We testimony of his expert Del3ard, that
           2
                 he should aoi be found liable for Trust 1's losses because analysts were recommending buying
           3
                 holding Qualcornrn stock during 2000. No analysts' reports were introduced into evidence,
           a
                 although DeBard testified that he reviewed some such reports. The analysts' reports are,
           S

           6     however, irrelevant. Ear one thing, Kadisha. never read any of them_ Even more importantly,

           7     advice that an analyst would or would not give an investor is irrelevant to what a trelstee must do
         .$
                 to fulfill his fiduciary duties. DeBard admitted that he did not know that a trustee's fiduciary
           4
                 duties are. Kadisha did not offer any expert testimony on what a trustee should have done in this
         '10

          t t,   situation. Petitioners' ezpert.testified that a tnrstee should have acted to preserve the Trust

         lz      principal, and the Court agrees.

          13
                        Ordinarily, in cases where the trustee has acted in goad faith and with undivided loyalty
          14
                 to the beneficiaries, courts are reluctant to second guess his investment decisions. Kadisha was
          is
                 not such a trustee. He never served the interests of the beneficiaries, and his retaliation against .
          i6

         17      them for suing him is just another demonstration of his consistent and overwhelming bad faith.

          I8            Kadisha also incorrectly argues that Petitioners should have mitigated their damages
          14
                 because on 3anuary 25, 2004 he allowed Pe'titianers to copy his trusC files, and included within
         2t^
                 the thousands of pages ofdocuments was a copy of Trust 1's December 31, 1999 Y.ehman
         zt
                 Brothers account statement. Producing copies of Trust doctunents to 1etitioners did not relieve
         2Z

         z3      Kadisha of his duty to continue io prudently manage the assets and preserve principal or shift

         z4      Kadisha`s duty to Petitioners. >3oth the duty and the opportunity to reduce Petitioners' damages
         2S
                 laid with Kadisha. It is unreasonable far Kadisha to claim that Petitioners -who did not have his
         26
                 knowledge of the situation or any control over the stock _ should have done what he did not do.
         27

         is      In essence, Kadisha is arguing that the Trust beneficiaries should have forced him to do his duty



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                                                    "'^1'Ervt^              ^^



                                                    ...., . Y .            ^L.^
                                                    S, I S 1 , ^:
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                                 !^                                        ^^^
          t   or suffer the consequences of his malfeasance: This argument is inimical to the spirit. policy
          z
              ward of the Iaw governing the conduct of trustees , and the. Court rejects it.
          3
                      Moreover, as a practical matter, Kadisha's control of^the stock prevented Petitioners form
          4

              being able to do anything to mitigate their damages , They would have had to wrest control of
          5

          6   the stool: from Kadisha. Kadisha's resistance to turnitlg over the Trust assets when Petitioners

          7   applied to the Court for a formal turn-over order illustrates that even if they had discovered that
          B
              Trust l still owned Qualcamm stock. they would not have beeq able to ga'm control of the stock
          9
              in time to prevent their losses. They were oat, however, required to do sa. The duty to preserve
         to
         tl
              the principal and prevent the beneficiaries' losses was Kadisha's alone.

         12           Damages; The DNK Trusts

         13
                      The Court finds the Petitioners have no claim to any of the Qualcomm stock held in the
         14
              DNK trust, and therefore will not award any damages: However, the Court fords that Petitioners
         t5
              claim was legally tenable and brought in good faith.
         16

         t^           Damages: Kadisha 's Taking of Trust Funds for His •Legal Fees.

         is           On JanuAry 13, 20t}0, Kadisha paid his attorney'$13,761 from Trust 2's funds_ On
         !9
              February 23, 2000, Kadisha took $250,000 from Trust 1 and $250,000 from Trust 2 to pay his
         20
              legal fees in this case. The takings were done without Court approval or the consent of the
         2t
              beneficiaries. Judge Gary Klausner ordered Kadisha to return the.iotal sum 4f $500,000; but to
         zz
         23   date, he has not done so. While orders of the court can be appealed, Kadisha's action in refusing

         24   f to abide with the Court's order was frivolous, and it is with much restraint the Coact does not
         25
               impose a substantial sanction upon him.
         26

         27

         28



                                                       STATEMENT OF Dt?CISION

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                                  '^                                              ^ .



          1            Kadisha is herewith surcharged $SA3,OSS, plus interest at 109E per annum halm
          2
               September 19, 20(10.27
          3
                       Respondent incorrectly argues that Petitioners' counsel stipulated at the Gourt of Appeal
          4

               that the $500,000 was deemed returned, and that based on [iris stipulation , interest shaWd not be
          5

          6    awarded from the date of the stipulation. The Court has read the transcript of the oral argument

          7    before the Cotut of Appeal and disagrees with Respondent ' s interpretation. The $500,000 was
          8
               not returned as Petitioners did not have the use of or control aver the funds. The $500,000 was
          9
               then, and is still now, in iVlr. Btrm's trust account until the Court's judgment.
         io
         tl,           Respondent also incorrectly claims that he should not be required to pay interest because

         12    he top had no control over the funds. However, whether or not Kadisha was able to control the

         l3
               use of the funds is irrelevant. The $500,000 was not his to take and his taking of it deprived
         l4
               Petitioners of the use of their money. He could have ended his obligation to pay interest by
         15
               returning the money when Judge Klausrier ordered him tp instead of appealing the order.
         tb

         17            Dasrrages: Failure of Kadisha to exercise preferential rights.

         to            On September 29, 1989, Qualcomrn informed Trust 2 that it had preferential right to
         i9
               ', purchase 6,530 shares of Quatcamm shares "C" Convertible Preferred stack for $8.00 per share.
         za
               Kadisha did not exercise Trust 2's preferential rights. The court finds there was no obligation fe
         zt
               Kadisha ro exercise Truss 2's preferential rights, even though it would appear an advantage to do
         2x
         23    i so. The same opinion applies to Trust 2's preferential rights to acquire Qualcorntn stock on

         za    September 7, 1999. Petitioners ' claim(s ) in regard to said preferential rights are denied.
         25
                       Damages: Punitive Darrrages
         26

         27
               n Tice Court calculated ^e 5543,055 surcharge as follows: S 13,761 (tire amouat Kadisha paid Hums from Truss 2)
         za    plus interest at I096 per aru^um from January 13, 2000 until September t 8, 20017 = S 14,696 plus 350(3,00[1 plus
               interest at 1596 per annum from February 23, 2000 until September I8, 2U00 = $SZ8,359. $ [4,646 plus 552B,359
               eguats SS43.fl5S.
                                                               STATHMENT 4F bECLS101V

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  _        '
                        The Court accepts the rule that punitive damages may not be awarded for litigation
           2
                 conduct, including giving false testimony and suborning perjury , But it is a "most unfortunate
           3
                 rule and a mast grievous one, and no doubt the legislature and the courts would be glad to
           4.:

           5     redress it if a rule could be devised that would remedy the evil without producing mischief far

           6     worse than the evil to be remedied." United States x Throclorcorten, 98 U.S. 65, 66, cited in

           7     Kachig x Bnoth (1971) 22 Ca1.App.3d 626. ^Witlt all the remarkable talent of our judges and
           8
                 lawyers, a rule should be deveIvped to give effectiveness to Penal Code section 1' 18, which
           9
                 provides:
          10

          11                    "{a) every person who, having taken an oath that he or she will
                                testify, declare, depose or certify truly before any competent
          12                    tribunal, officer or person, irr any of the cases in which the oath
                                may by Taw of the State of California be administered, willfully
          is
                                and contrary to the oath, states as tree any material matter which
          14                    he or she knows to be false, and every person who testifies,
                                declares deposes or certifies under penalty of perjury in any of the
          ^5                    cases in which the testimony, declarations, depositions or
                                certification is permitted by law of the State of California under
          ^6
                                penalty of perjury and willfully states as true and material matter
          17                    which he or she knows to be false, is guilty of perjury."

          I8            The "litigation conduct" rule does not fall within the category "if it ain't broken, don't
          t9
                 and fur it." The rule is deeply flawed and needs to be fired.
          2D
                        The Court fords no support for maiuntaisiing the rule based upon the pronouncements
          21
                 contained in Kachig v. Boothe {1971) 22 Cal.App.3d 626, nor iri Silberg v. Anderson {19913)
          22

          23     SO Ca1.App.3d 20S or Rasheen x Cohen (2006) 37 CaI.4^ 1048. ]n Kachig v. Boothe, the Court
                            r
      *   24     finds "the lack of any really effective remedy against perjurers is simply part of the price that is
          zs
                 paid far witnesses who are free from intimidation by the probability of civil liability for what
          26
                 they say." But perjury is riot a "civil remedy" as it falls under the category of "Crimes Against
          27

          is     Public .lustice." Public justice should prevent witnesses from the license to lie provided by



                                                       STATEMENT OF DECISION

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           l     section 47(6x2). The said section puts a cancer into the system of justice on an unsupportable
           2
                 premise that people free to testify from liability for what they say will faster truthful answers,

                 This is the very error of Sifberg in holding that the "litigation conduct" rule promotes "complete
           4

                 and truthful testimony." This is plain wrong. It does the opposite. To allow witnesses to plan,
           5

           6     scheme and design to give false testimony as allowable by Section 47'(6)(2) is shocking if the

           7     idea of justice under the law is considered.
           8
                         But just as though for what seemed ages, the law supported contributory negligence as a
           9
                 complete bar to recovery and fault divorce was adhered to as something that came down from the
         to

          1 t,
                 mount, they both, like other;, fell by the wayside as lacl^ng cotnrnon sense. And perhaps

         t2      common sense may tight up the road to improved justice by eliminating the concept of "litigation

         f3
                 conduct" as a shield for witnesses against civil suits or, the possibility a charge of perjury may be
          14
                 brought by the District Attorney.
          Is
                         Section 47(6){2) does not repeal or invalidate Section l l8 of the Criminal Code regarding
         16

          17     perjury directly or by inference as a crime against Public Justice. Said section 118$8 declares in

         Is      relevant part:
          14
                         "Section 118. Perjury Defined.
         zv
                         "Event' person who, having taken an oath, that he or she will testify, declare, depose, or
         zt
                 certify truly before any competent tribunal, officer or person, in any of the cases in which the
         22

         23      oath may by law of the State of Califamia be administered, willfully and contrary to the oath,

         za      states as true arty material matter which he or she knows to be false, and every person who
         25
                 testifies, declares, deposes, ar certifies under penalty of perjury in any of the cases in which the
         26
                 testimony, declarations or depositions or certification is permitted by law of the State of
         27

         za


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          i    California under penalty of perjury acid willfully states as true any material matter which he yr
          z
               she knows to be false, is guilty of penury."
          3
                       Now perhaps the legislature should amend Penal Code section 118 to state it does not
          a

          5
               apply to civil suits or it should be put to the voters of the State of California as to whether Penal

          6    Code section 118' steal! cease to apply to civil lawsuits. The court cannot do this not having the

          9    power to legislate.
          8
                       But there are other fundamental issues that ae^ed to be addressed as to the applieation of
          4
               Civil Code section 47(b)(2) and Booth, Sifberg and Cohen;
         to
         Ir'           Cne of the fast in what appears to this court to be erroneous is the application of the

         I2    "witness shield law" (Civil Code Section 47(b)(2)) to the equal application to both a party as a
         13
               witness, and a witness as a party. There is a rather monumenia] difference. A party originates
         !4
               documents and testimony (depositions in'trial) so he does not fall within the classification of a
         IS
               person more likely to tell the truth without fear of being sued by anyone, including the District
         16

         t7    Attorney. He is the instigator of a complaint ar an answer, which mayor may not contain an

         1&    oath of affirmation, and it would render allegations in pleadings and depositions meaningless if
         t9
               the party swearing to tell the truth is not bound thereby. While it is true that asking a District
         24
               Attorney to bring an action against a party for false teslitr ^ony is beyond rare because the District
         2t
               Attorney is too busy with his crush of work and the outcome df any action for perjury is
         22

         z3    doubtful. This does not mean the threat of perjury should be dropped. And if it is to be dropped

         2d    from civil cases, this would have to be done by the Legislature, not the courts. While this court
         25
               does not approve of the "witness shield" at all, a witness for a party is in an entirely different
         26
               category from that of a party witness. Some may be truthfully supportive. Others may be
         27

         26
               supportive fabricators. Some may be dragged in by subpoena. Few really want to go to court



                                                        STA'I'EM$NT' OF DECISIDN

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                                f^                                           E^^



               and testify. So granting them a "witness shield" as a method of eliciting truthful answers is a far
          s
               cry from allowing a party to^lie under oath and.give false testimony in depositions. So the
          3
               I'^vstuess shield" should not be applied to a party.
          4

          5
                       A second very major problem that is not addressed in Section 47(6}(2) or in Kachig,

          6    '^ SiXberg ar Rasheen is the matter of instructing the jury about the "witness shield : ' The new Civil

          7    Jury ]nstructions in the Preliminary Admonitions of Sections 10(3 and 107 , nor in the swearing of
          8
               'witnesses, advise the jury properly.
          9
                       The following instruction, or one containing words of the same effect , should be given
         1D

         tt,   sue sponte to the jury as a preliminary instruction:

         12            "You are instructed that the law no longer requires a witness before testifying to swear to

         t3
               cell the truth and nothing but the truth in the matter before the court . The elimination of swearing
         ra
               the witness to tell the truth has been abolished because the law has detcsmined that allowing a
         !5
               witness to testify in any way he desires, including tailing a lie, without fear of someone fling a
         t6

         t7    suit against him far what he says and withou € the passibility of the District Attorney charging the

         t8    witness with perjury, results in the witness being more likely to tell the truth."
         19
                       The reason for so instructing the jury is crystal clear. If the court fails to so instruct the
         2a
               jury, there becomes a due process problem when the witness is sworn to tell the truth. An
         27
               objection properly lies because the law has declared the witness does not have to tell the truth.
         zz

         23    The request of the witness to take an oath to tell the truth would constitute an attempt by the

         24    Court to get an implied waiver of the witness's right not to tell the truth . Hut it cannot constitute
         25
               a waiver because a waiver must be explicit in its teams. The court can only back off stating,
         26
               '"The abjection is sustained - ]n lieu of having the witness swear to tell the truth, 1 will new
         z^

         26
               instruct as follows: Pursuant to what the law has determined to be the "litigation privilege," you



                                                       STATEMENT OR DECISION

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          t     are now free to testify in any way you desire, including telling a lie, withatlt fear that whatever
          2
                you say no civil action or criminal charge of perjury will be brought against you. By the
          3
               "litigation privilege," €he taw has declared .you are more likely to tell the truth . And Ellen to the
          4
               witness : "Please state your natne."                                                              _
          s

          6            fn respect to the foregoing, the jury should be instructed as part of any insirudion

          7^    advising them of their right to dctenuinc the crodibility of any witness the following:
          8
                       '"The fact that the witnesses in this case have not been sworn to tell the truth , but to the
          4
                contrary can testify as they so desire, including [c]ling a lie, increases your awareness that you
         ^4

         1^     and you alone determine whether to believe all of a witness' testimony, part of it, or nano at all.'

         12            While the case^before the court is obviously not a jury trial, the foregoing further lights

         13
               ^ up the'^vitness shield" deficiency.
         14
                       ^Pinally, no case known to this court aver 59 years itl the taw business has presented the
         is
                problem more forcefully than in considering awarding punitive daxneges against Kadisha for his
         15

         17    ^lultruthful answers in giving answers to questions asked in the taking of his depositions or durin

         le     trial, but the Court's soap-box presentatiaA against the `litigation Exemption" must fa11 by the
         i9
                wayside as the Court is bound by the exception as it now stands.
         24
                       The Court will , hence, limit its considerations to ads of Kadisha prior w litigation. And
         x[-
                they are more than several.
         22

         29            As ill all cases considering the applicability of a statute.to be applitd to tlae facts . so it is

         2a     with a oonsidcration of punitive damages . The Court must look to the applicable provisions of
         2s
                Civil Codc section 3294, which an as follows:
         2G
                       "3294: Exemplary damages; when allowable; definitions:
         2^

         28                    {a} in an action for the breach of an obligation not arising from
                               [:ontract, where it is proven by clear and convincing evidence that

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           t                         the defendant bas been guilty of oppression, fraud or mallet, the
                                     plaintiff, in addition to acxual damages, may recover damages far              '
           2
                                     the sake of example and by way of punishing the defendeTat.
           3
                                     (c) As used in this section, the following definitions apply:
           4
                                     (1} `Malice" means the conduct which is intended by the defendant                      '
           s
                                     Uo cause injury to the plaintiff QR despicable conduct which is
           4                         carried on by the defendant with a willful and conscious disregard
                                     of the rights or safety or others.

                                     (2) 'Oppression ' means despicable conduct that subjects a person
           8
                                     to cruel and unjust hardship in conscious disregard of that pcrsou's
           9                         rights.                                                              .

         'Ia                         (3) 'Fraud'_means an intentional misrepresentation , deceit or
          t i,                       concealment of a material fact known to the defeudani with the
                                     intention on the part of the defendant end il^ereby depriving a
         az                          person of property or legal rights or otherwise causing injury."           .

          t3            The exemplary (or better referred to as the punitive damage section 329+1) has ban with
          I4
                 us for about I34 years, with some modifications, the most important being the addition of the                  .
          rs
                 word "despicable"in the defmitiom of malice
          15

          t^            It is Gvil Code sedian 3294 which must guide the Court and any applicable decisions

          to     relating tlrereGo as applied'to the facts of this particular case, it must be noted that the
         39
                 Legislature has not deemed it fit to amend section 3294 to include.any dictionary definitions of
         2U
                 any terms in the section or^court determinations concerning same,.althouglx this Court would be
         zt
                 bound by same if applicable. And it must also be noted that the punitive damage jury instruction
         zz

         23      formerly given. BAIT ]4.71, and the new CACi instruction 3941 add a definition to the

         2a      de#•-iuftions of Civil Code section 3294 in respect to "despicable conduct," which stairs:
          zs
                         "'Despicable conduct' is conduct that is sa vrle, base or conttmptible that it would bt
         ss
                 lool:cd down on as despised by reasonable people."                                                     '
         z7

          zs


                                                            STA'IE^vIENT OF DECISION

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            I             Simon v. Sari Paola (2005) 35 Cal.4'^ 1159, held that "at a minimum, California law
           Z
                  requires conduct done with `willful and consciots disregard of the rights or safety of others'.or
           3
                  despicable conduct done 'in conscious disregard' of a person's rigltts." `Conscious disregard.'
           4
                  means that `the defendant was awar+c of the. probable dangerous consequtrtces of his conduct an
           5

           6      that he willfully and deliberately faiCed to ttvvid those consequences." Taylor v. Superior. Court

           ^^ (1979) Z4 Ca1.3d 890, 895-896.

           8
                          Tltc Court finds that Kadisha's acts. as enumerated below and throughout this decision.
           9
                  constitute conduct that was vile, base, and contemptible, and would be looked dawn on as
          'to
          t t,    despised by reasonable people. The Court also fends that these acts were intentional, or done

          tz      with a willful and conscious disregard of Petitioners' rights. The Cat>st is persuaded by clear and

          13
                  convincing evidence that Kadisha was aware of the Futancially dangerous consequences of his
          !4
                  conduct and willfully and deliberately failed to avoid those consequences.
          is
                          1a addition to Civil Code section 3294 and California judicial decisions, in BMW v. Gore
          16
    r

          t7     (1996) 5l7 U.S. 559 artd State Farm v. Campbell (2003) 538 U.S. 408, the United^5tates

          !B     Supreme Court set forth constitutional guideposts for determining whether punitive damages
          t9
                 should be awarded and their artiount. 'These guideposts are: (1} the iiegree of reprehensibility of
          zo
                 a respondent's misconduct; {2}the disparity betwceu the actual or pot^tial harm stiffeitrd by
          2t
                 Peti4ianets and the punitive damage award; and (3) the difference between the puutitive damages ^,
          22

          23     awarded and the civil peualdes authorized or imposed in corrlparable cases.

          24              The degree of reprehensibility of the defendant's conduct is the tnost important indicia of
          25
                 the reasonableness of the punitive datnages award against a defendant. Stare Farm, supra, S38
          25
                 ^ u.s. at 419.
          z7



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                                               ^^^W .,----. Yw._.^^.__.__.. .,
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 '         ^           Tlsere arc five factors to be evaluated i.n determining the reprehensibilityof the

           2.   defendant's conduci: (a} whetlter the harm caused was physical as opposed to econonuc; (b)
           3
                whether the tortuous conduct evinced an ind'dfcrence to or a reckless disregard of the health or
           4
           S    safety of others; {c) whether the target of the conduct ,had financial vulnerability; (d) whether the

           6    conduct involved repeated actions or was an isolated incidenk; and (e) whether the harm was the

           ^    result of intentional rualice, trickery, ordeceit, or mere accident. Id
           a
                       These factors were adopted for use it! California in Simon, and lofmson v. Ford Motor

                Ca. (20U5 ) 35 Ca1 .4'^ 1191 . In dei^ +,infng the reprehensibility of Kadisha's conduct. the Court ,I
          is                                                                                                             ^
          i^    has considered Petitioners' Financial vulnerability, the recidivism of Kadisha's acts and

          ^z    orris-sions, and whether the harm was the result of malice , trickery or deceit, or mere accident.
          to            With the foregoing in mind , the Court finds that Petitioners have shown , by clear and
          14                       -
                convincing evidence, that they are entitled to punitive damages against Kadisha for his conduct
          is
                in the management of both Trusts 1 and 2.
          ^6

          i7              eons^dering Kadisha's conduct , the total pattern of Kadisha's conduct ovines into play.

          ^s    His malice, fraud, recidivism, and reprehensibility may' be singular. The evidence of his overall
          !9
                conduct over the 12 yeas of his trusteeship establishes by clear and convincing evidence that
          zo                                                                   -
                none of his acts w re innocent or an accident , and that each of Wem .was^ undertaken with a

         22     conscious disregard of Petitioners' rights and their catreme financial vulnerability.

          z3           The following facts. among others , support the Court ' s finding by clear sect convincing

     ^   2a     evidence that Kadisha's acts were extremely reprelxensible.

         ^             Ttyroughoat Kadisha 's trusteeship and, in particular , from 1988 through 1992, Petitioners
         26
                were eatrernely financially vulnerable . Dafna had a lt)'^ -grade education. miniu^al undastandin^
         77

         zs     of the English language, and a total leek of financial business experience . Her only job


                                                       s^AZ^rrr of n^c^tstox
                                                                    ts^

                                                  .-^r   x.                ^^
                                                  ^^I+^^i^ ..^-........_._._..--- ----------^-_..

                                                   ,^ ^^^ :^                                        -
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                                                                                                                    I


          ^     experience in her entire life had been a short stint as a makeup artist. Prror W hrr husband's
                               e.wi^
          z
                death, she had never even opened a bank account by herself. During this same period, Kadisha

                misappropriated substantially alt of the Trust's assets for his own use to bolster his shaky

                finances and the shaky finances of business in which he was heavily invested , including Omninu

                and Qualcomm . Dafna did not have any assets to replacx the Trust assets that Kadisha put at

                extreme risk forhis own benefit,.and she had no skills with which to cam enough income to
          a
                support herself and her two young children if Kadisha lost the Tnlst principal. Izxet and Joelle,
          9
               who were the primary beneficiatses of Trust 1 , were minors when Kadisha was risking the tnrat
         ya
         tti   I assets for his own benefit.

         ]z             do addition, in 1958 Kadisha took the entire 5500,000 Namco Load procxda and used tlr+

         13
               money to pay his personal loans and expenses . Kadisha defaulted oa the loan, exposing
         14
               Petitioners to the possibility of lasing the Strathmore Residence, which was the security for the
         13
               Ivan_ The Strathmore Residence was the only Trust asset at the time grid regregented -the vast
         25

         l7 + bulk of Da.fna's property . Kadisha did riot document his taking of the Named Loan proc^cls.

         is ^ His accountant testified that Kadisha's purported accountings would not apprise a reader of the

         19
               Nsrr^co Loan.                                                                  .
         20
                       Also in 1988. Kadisha loaned 5300.()00 of Trust 2's funds LO Quslcomm. lmowing that
         2[
               there was a substantial ldccliliood that the entire 5300,000 would be lost. In order W raise cash
         22
                                                •       f
         23    for the $300,000 Queloomm loan, Kadisha took out a second loan on the Strathmorz Residence

         24    (the" lnlperial Loan").. He misappropriated $ 1 million of the 52 million Imperial Loan proceeds
         25
               for his own use. (The balance was used to repay the delinquent Namco Doan and fund the
         26
               5300,000 extremely risky loan to Qualcomm.) If Kadisha was not able to repay tine S1 . raiilian
         27

         28



                                                        sre^av^r o^ nEasiox
                                                                ]s3




                                               .^ ^.^
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                                                    .
                     ,:                           '; ^                           __:
                               -....


                                                          -            ^   t^

          t    he misappropriated and Qualwmrci went under, l?etltianers would have lost subatautially all of
          2
               the then-existing Trust assets.
          3
                        From 1988- 1991, Kadisha rrlisappropriated virtually all of the 'Trusts' cash for his
          a
               personal use, without documentation or se^lrity. Kadisha 's own finances were ilt turmoil. His
          5

               inability to repay the Tnists for his misappropriations is amply demonstrated by the fad that he

          7    did not repay them. Petitioners were therefore at extrernc risk of losing all of their assets.
          8
                        In 1992, Kadisha sold all of Trust 2's Qualcomm stock to raise cash for his own use. He
          9
               then misappropriated the sale proceeds for his own use, bur claimed.that he had ioausd the
         la
         i!    motley to Rahban. Kadisha knew there was no Ralxban, and that even if them was, Rahban had

         lx    na assets in the I3nited States, and the supposed loan was unsecured . In 1992, Kadisha's .

         13
               expenditures exceeded his cash by over $1 million. Kadisha was thtrefore^nat only putting the
         Ia
               sale proceeds at extreme risk by taking it when his. finances were in the red, but he was throwing
         is
               up a smoke seceeu^ that the beacficiaries would have to penetrate if he could not repay the money.
         16

         t7             hl 1993, Kadisha invested $500,000 of the Trusts' funds in Carson '93 Ltd: so that the

         18    gattnership could purchase real property to lease to Texollini. Kadisha was the CF.Q and a
         19
               substantial shareholder of Tcxollini . Tcxollini was not only the tenant, but also the general
         20
               patmer of Carson '93. There were thus not only conflicts of interest here, but lawyers of
         21
              ^ callflids. .
         22

         23             Kadisha's expert, Andrew Minstein, made it abundantly clear, at trial, that Carson `93's

  A      24    purchase of the 2575 E11?residio building was an imprudent investment. He testified that the D
         25
              Pncsidio property had numerous physical dcficicncies and was burdened by restrictive CCBtR's.
         zs
         x^
         2a


                                                     STATEMLrNI' OF DECISION              - - --

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                I
          t                 The Court therefore finds by clear and convincing evidence that Dafna, Izzet and ^oelle
          z
                    were all extremely vulnerable financially, and that l{adisha consistently disregarded tltcir
          3
                    financial vulnerability for his own gain.
          a
          s                Kadlsha's Reddivism and Tn#entianal Versus Aocldental +^ctar

          6                 "[Cjertainly, evidence that a defendant has repeatedly engaged in prohibited conduct

          7         while knowing or suspecting that it was unlawful. would provide relevant support for an
          e
                    argument that strong medicine is rewired to curt the defendant's disrespect for the law.
           ^                                                                                        •
         ,to        [Citations omitted.) Our holdings Wet a recidivist may be punished A^ severely thaw a fast

         t ^,       offender recognized that •repeated misconduct is more reprehensible than an individual instance

         t2         of malfeasance." Johnson, supra, 35 Cal.4's at page 12Q3, citing BMW.

         t3
                            ICadisha did not engage in an isolated acE of misconduct = he repeatedly, systematically
         t4
                    aad intentionally engaged in oanduci that he knew was prohz^ited to biros as a trustee. Kadisha's.

                    nur^ ^erous and .egregious acts establish, by cleat and convincing evidence, a pattern of extreme
         14

         l7         rtic idlvlstFl. AS pre VYO ^Iy AOted, his course of conduct also establishes that Lis acts were

         to         intcntiorially malicious and/or fraudulent err undertaken with a conscious disregard of Petitioners'
         t9
                    rights and that none of them was inadvertent or an accident.                    ^•

                           Sadlsha's 1Vfallcc an
                                               ,^ Fri

                           Respondent' s fast fine of dtfense is to attempt to overcome Kadisha's defxcieneies by the

                    very large ultimate financial gaim by the Petitioners . But malice or fraud is not waived, ignored,

                    or forgiven by a fortuitous financial gain. The almighty dollar dots not bear a cross or other

                    religious symbol.

                            Kadisha took advantage of Petitioners for his own benefit throughout his trusteeship. He

                    exploited Dafna' s helplessness after the death of her husband, her lack of experience, and her•



                                                            5TA7'EMEiVT OF 17ECLSCON

                                                                         ISS




                                                ...rt^lt^f , ...,...     ..^._ ......_,,.__......


                                                 T ^z ^:..             . ^-^-3. .
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                                '^.   ^                                            ^^._ ^      ..




-_            ^^                      O                                         V


          t        cognitive insufficiencies to gain control of her assets. He intentionally and consistently violated
          2
                   his fiduciary duties. He looted the Trusts: He induced Dafna to sign unconscionable
          3
                   amendments . He concealed his wrongdoings with fraudulent accountings, backdatal .promissory
          4

          ^        notes and phony transactions . P^s one example of.his fratitd , Kadisha intentionally eouoealed

          6        from the beneficiaries that fact that he had used $2413,000 of Namco Loan proceeds to repay his

          7        Union Bantle line of czadit and , iA canrredion thcrewitlr , had acqurred 21,5T1 shares of Farahnik's
          8
                   Qualcomr>z stock as another example of his fraud , Kadisha stole arvney from the Trusts under the
          9
                   guise of waking looms to David Rahban , whom the Court has found to be a norr^xistent person
         to
         tt        in the. claimed loan transaction. Had the District'Attorneyatepped iq after the taking . he could

         t2        }rave charged Kadisha with Grand Theft {Penal Code section 487} or embezzlement. Section 503'

         r3
                   of the Penal Cade deC7nes embezzlement as "the fraudulent appropriation of property by a pcrson^
         l4
                   to whom it has been entrusted." .

                           ICadisha 's malice anchor fraud also includes his bad faith stock sales in 1992 and 1999;
         tb

         t7        his persistent refusal to account for his^use of'i'rust funds; his inteatiorzal self-dealing with roost

        tt$        easels . his continuing exploitation of Dafna's inability to understand or grasp almost anything
         t9
                   about the Trusts; his use of money or pronuse of money , as a carrot to get Dafna to sign trust
        120                   ..
                   amendments [hat purported to relieve Kadisha of his fiduciary duties and release him from
         21
                   liabil ity for his egregious - acts; his use of Ran Levi , Dafpa ' s second husband, as a willing dupe
         2z

         z3        (having the same cognitive insufficiency as Dahna }; iris retaliation against Petitioners for suing

         2a        him by allowing Trust 2 ' s Qualcomm stock to decline in value by over Sl0 milliorx; his taking of

         25
                   $SOE},Q00 from Petitioners to pay his legal fees and refusing to raeturn it after Judge Gary
         zs
                   Klausner ordered ltim to do so ; his backdating of pmntissory notes and creating backdated,
         z^
         ^ phony traYrsaexions; his misappropriations of over $10 million of the Trusts' cash without



                                                            sTAT[:IHF.N'C OF DECISION

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                                                  .t,,,^               ^^
                                                  ^- ^^Ck
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                                  ^.       /                                          \......,




                !l                     c                                            cJ
           t         adequate security or even the most minimal docunaeutation; investing Trust fiords in Carson '93

                     Ltd. far Kadisha's owq cconomic-betxtfit, and purchasixng Trust 2's parttrership intet^est without
           s
                     Dafna's knowledge in yet another conflicted transactian.^                            - .
           4^
                             F^ch of these acts was malicious ax fraudulent , despicable. and done with intentional ar
           S

           6'        willful and conscious disregard of Petitioners' ritghts.                    --               .

           7                 Kadisha would tike the Court to believe he was well fixed financially at all times so it
           8
                     cannot be said that he acted with malice, i.e., that his candud was despicable and done with a
           9
                     willful and Mowing disregard of Petitioners' rights.
          Sa                                                                                              R



          tip               'l'hc clear and convincing evidenoc is to the contrary. 'While the Court might entcitain the

          12         thought early on in his acting that Kadisha made a simple naistalcc in taking all of the available

          t3         ease th^^amco l-.oan available to Dafna for the support of herself and her children, such a

                     thought dissipates like fog on a hat summer day as Kadisha set the course of his entu^           -

                     tzusteeship on the impermissible taking of Trust assets, false accountings, back-daturg of notes

                     and the many other intcntianal brraches of trust hereinlscfare set forth

          !8                Kadisha's actions immediately after the Namco•talcing fortify the C'ourt's position. After
          19
                     defaulting on the Namco Loan, Kadisha procured an additional loam of S2 million on Dafna's
          zo
                     home {i.e., the "Imperial Loan"). Kadisha took pragically all of the imperial Loaa proceeds far
          zt
                     Ills awn use. He amazingly used her money to pay off his taking of the NamCO Loan pivCeeds.
          2z
                     Swindlers present and past would marvel at this taking, and they would tnarvtl at how Kadisha

          x^         was able w bypass the consent of Dafna to such a huge taking.
          25
                            But the Namca and Imperial Loans were only the beginning of Kadisha's malice and
          26
                     fraud. The Court has found that Kadisha's acts in loaning Qualcomra S3lx1,t)04 attd
          2^
          2a         subsequently converting the loan to equity {which plunged the Trust into even morn troubled



                                                                  5TA'^MENT OF QF,Ct3IUN

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                                                    _. „ ^.y ^,
                                                    k. .z.
                                                       -^ti^^
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                           `^.   ^                                          t..




               financial waters) was by clear and wnvincrng evidence conduct that was despicable and done
         .2
               with willful and knowing dismgaYd of Petitioners' rights. These acts and the subsequent acts of
           3
               Kadisha discussed above and in the earlier discussion of the United States Supricme Court
           a
               ggidelincs arse contemptible in "that ^thcy] would be lacked down upon as despised by
          .5

               reasonable people.

           7          Ksdisha also contends that the Court can only award punitive damages on a claim on
           a
               which it has awarded compensatory damages, "The California and United States Supreme Courts
           4
               disagree. Johnson, citing State Farnr, stated that the relevant relationship is between putritive
          10                                                           t

          11   damages and actual or potential harm. Johnson, 'supra, 3S Ca1.4^^at page 12x7. The potential

          12   harm that is properly included in the analysis is "harm that is likely to occur from the defendant's

          [3
               conduct:' Simon, supra, 3S. Cal.4^` at page I I77. 7n arriving at its conclusions,^the Court has
          14
               considered the claims on which Petitioners were awarded compensatory damages, and also the
          ^s
               claims on which there was potential harm. The Court can, and has also considered the totality of.
          16

          t7   Kadisha's conduct in arriving at its conclusions regarding l{adisha's deiiberatencse in

          ie   disregarding Petitioners' rights and his recidivism, among other things.

          19
                      Pnnltive Damages Award
         20
                      The Coltrt fixes pittridve damages against gadisha at ^5 million for Itie tuuaeroets
         21
               pre-litigation act9 av trpstee,
         ZZ
                          ^.wr
         23           While it may be repetitive, Kadisha didn't borrow 'Ihrst funds _ he embezzled them,

  A      24    millions of dollars of them. He made bad-faith sales of Trust Z's Qualcornm stocir in 1992 and
          u
               1999. He backdated notes in an effort to cover up his wrongful takings. He intentionally and
         zs
               carelessly caused accountings to be prepared that were deliberately designed to deceive and did
          z^
         2e    deceive Uafna. Although thoroughly advised by his counsel, DeCastra, as to his limitations and



                                                    sr^T^ oi^ t]LCIS10iV                      ^      ^        ^    I
                                                                tea
                                                     q            ^                                                1
                                              .'
                                             ^^^YI-i^^^i __--^_^.
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                                                    '




                                  Q


            F     obligations as a trustee , he totally ignored DeCastro ' s advice and repeatedly entered into
           2
                  con#licted transactions . He considered his beneficiary Dafna "stupid." and took every
           3
                  opportunity to blatantly and deliberately breach his fiduciary duty of loyalty to her and her
           4
                  children. He contrived a phony transaction that robbed her of $^3 million. He w^lJfuliy,
           5

           6      maliciously and despicably indaced Dafna to eaecuUe Trust amendments by which she released

           7      all ofhisthen-existent derelictions of duty and purported to give him unfett^d control over her
           S
                  assets. He retaliated against Petitioners for suing him by doing nothing whip the TEVSts' only
           9
                  remaining Qnalcomm stock catastrophically declined . He invented the action of the ltahban
         'Io
          I ^,    loans to conceal his stealing aver $2 million of Trust funds . He placed the P"etitianers in

          tz      financial jeopardy over and over again by risking the Tnrs[ assets ou his own speculative
          t3
                 I Ventures.
          t4
                          While Petitioners would like to see the Court award punitive damages against Kadisha in
          is
                  a sum vastly greater, and one calauiated at least two. throe ar four times the compensatory
          Ib

          I7      damages as fixed by the court, what the Court ^ dune is apply ample ptrnishruent to Kadisha,

          IS      knowing that making him pay $S million will batter his delusion that he can^prevaii over his
          19
                 abandonment of principle and obligations under the law and engage in malicious and fraudulent '^
         zo
                 conduct. Ample notice will be given to those wha elect W assume the duties and obligations of a
         23
                 trustee that the laws respecting. trustce mean what they say^Eid are not to be ignored.
         22

         23               Consistent with the Supreme Courts' guidelines , the Court in arriving at the amount of

         24       punitive damages has taken into account Kadisha's fwsncial condition. Throughout the trial.
         23
                 Kadisha made numerous applications for the release of funds from his Qualcomm stack that was
         2s
                 subject to the Court 's restraining order. In each of these applications . Kadisha attached a copy o
         27

         28      his then ctureni general ledger. During the punitive damages phase of the trial, Kadisha



                                                            5TA1'EMENT OF DECISION

                                                                               IS9




                                                i^• i'` f t tt ` ^                   1^
                                                   r^ i i ^ ..; ! ^ ......._ ^.....v_....__^



                                               Y,'^'_Y'.                        ^              l
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                                                                                 ^.




                                   ^J                                         t^


           t    produced his October 2005 financial statement. The financial doc:umeuts producxd by IGadisha
           2
                show that he has net assets is excess of ^100,000,000..Tire Court 's award of X5,000.000
          3
                therefore does not offend the Supreme Court's guideline.
          a'
          5
                           Damages: Attorney fees.

          6                Petitioners are clearly entitled to recover attorney fees under sectioir (b) of Probate Code

          7     section I7211, which,states inapplicable part, as follows:                   .
           s
                           (b)    if a beneficiary contests the trustee's account and the court determines that the
           9
                trustee's opposition t4 the contest was without reasonable cause and in bad faith , the court may
          tD

          lI
                award the cotttestant the costs of the coalescent arld other expenses and costs of litigation,

          t2    inchiding attorney 's fees, incurred.

          i3
                           Kadisha incon^tly caniends that Petitioners' claims do not come within the purview of
          14
               this section because: ( 1) this is not an action on a "trustee' s account" and {2) Petitioners' claims
          rs
                are surcharge claims and therefore unrelated to I{adisha's account . Kadisha is wrong on both
          l6

          t7   ^ counts.

          is               Typically, in a trust proceeding, the trustee files his accounting with the court and asks
          t^
               the court to approve it. In response, the beneficiaries assert their objcctians to the accounting, if
         xo
               any, and their surcharge claims against t1^c trustee. if any. In fact, the 6enefieiaries atnsE assert
         zt
               their surcharge claims against the trustee in this proceeding or their claims will be deemed
         z2
         zs    waived, Coberly v. Superior Covert (1965} 231 Cal.App.2d 685, 688. As Coberly illustrates, the

  ^^     za    proceedings regarding the trustee's accotYnt encompass mare than the trustee 's writtr^
         zs
               accounting. In deciding the benef'iciaries ' claims against the tr:tstee , the court also assesses the
         zu
               reasonableness acrd propriety of the trustee's actions in administering the trust. The
         27

         28
               beneficiaries' surcharge claims arc thins part and parcel of the proceeding on the trustee's



                                                        STA't'GMENT t)B DBCLStON

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                     ,`,                                                                          '^:



                                 f^



                 accounting. This was made explicit in Esrare of Faun {1999) 75 Ca1.App.4t° 973, 991. which
           z
                 hold that a surcharge claim for breach of fiduciary duty is a platter `tclating to an account."
           3
                        Kadisha's failulE to file his purported accountings with the court forocd Petitioners to
           4
                 bring them before the ca<ttt thclnselvcs .. Kadisha provided Petitioners with a set of purported
           s
           6     accountings (from the cominenceweilt of the Trusts ) in 2000 and a set of ttvised purported

           7     acxautttings in 2001 . petitioners objected to Kadisba's purported ac^lntirlgs in they pleadings;
           8
                 the accountings were admitted into evidence at trial , and Petitioners adducted substantial
           9
                 evidence that established by clear epd convincing evidence that the accountings were fraudulent
          yo^
          t 1,   and misleading. Dcrys of trial were devoted to testimony and argutrlent about the accountingi,

          lz     and Kadisha hilnsclf relied on the accountings Far two of his ai^"rrmativa dcfcnaes . In deciding

          ]3
                 this ease (including rulipg on Kadisha 's affirmative defenscs )r the Coutt vvas r^cguirrxl to m,alce
          14
                 fuidingi about the accountings . Thus, the fact that Petitioners initiated this action and -attacked
          is
                 Kadisha's accountings - rather than Kadisha initiating the adian of fonnally .requesting coati
          t6

          17     approval of his accountings - dace not male this 'action any less of a .prvooeding on a trustee's

          is     account than it would have been if Kadisha had initiated the procxcdings.
          19
                        Although Kadisha is now arguing something differertt , his rcliancz on the aecounfings 1
          zo
                 two of Iris affirmative defenses tacikly acknowIedgcs that this prvicezding ^is an action op a
          zt
                 trustee's account. One af,Ksdisha's (unsuccessf^) affirmative defenses is based on the
         sz
          z3     (erroneous) cls'un that Petitioners ' claims are barred by the statute of lilnitatian because Dafna

          z4     allegedly rrceived aocountings that put her op notioc of the claims more than three years before
         25
                 Petitioners commenced this action. Another of Kadisha ' s {failed) affirmative defenses is based
         26
                 on the (incorrect} oontcntion that the accountings he allcgcd]y provided to Dafaa arc bindipg om
          z7
         zs      the bencfrciaries pursuant to the terms of the Trusts. If this action was not related to his



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                                                                                                                               ''t.
                                                                                                                                  't:




           1   I accountings , as Kadisba now claims , why did he assert affirmative defenses that are based trn
           2
               { thCI117
           3
                           Moreover, in Respondent' s objections to Petitioners ' petitions,.he requested attorney's
           d
                fees. In addition, Respondent repeated Wis request during trial arld represented to the Court that
           s
           6    Respondent was requesting attorney's fees. ' Obviously, this constitutes to the Gaunt

                Respondent's acknoRtledgementtbat attorney' s foes are awardable in this case.
           s
                           It is iuconceivables shat the Legislature intended -- as Kadisha belatedly suggests -- that
           9
                beneficiaries can recover thelr attorney's fees for the trustee' s bad faith deferlsc of iris account
          ro
          I!
                poly if the trustees files an accounting with the Court That would pnoduce^ihe absurd result that t

          iz    trustee could mount art unreasonable and bad faith apposition tp the beneficiary's challenge to

          13
                his administration of the trust and avoid the imposition of atWmey's fees simply by refusing to
          la
                file an accounting. StaWtes I>zay not be interpreted to produce so absurd a result.
          IS
                           The Court concludes that this matter falls within ttte purview of Probate Code section
          16

          I7   1172 r 1.
          is               Without reasonable cause and In bad #sith
          i9
                           The Court also finds that the requu>rments of Sxtion 17211 are satisfied because
          2Q
                Kadisba's contest was without reasonable cause and in bad faith.
         2I
                           3n analyzing "reasonable ca^ISC,'.' courts have retied apon the dcfiaition of `^robabie
         xz

          23   cause" used in malicious prosecution actions . III these actions , a folding of "probable eausd'

  A       24   requires the court to objectively determine the reasonableness of the defendant 's wnduct in
          ZS
                bringing a claim an the basis of the facts known to him at the time and whether , based on those
         26
               facts, the claim was legally tenable. What facts were known to the Respondent, is a question of
         z7
          28   faq. Whether a claim is legally tenable is a question of law , and is dcterntined by whether any



                                                         STA'tEMF^7' t7ir II^G

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                                      O


          1        reasonable attorney would have thought the claim tenable. Siselrfon Appel v. Albert do OlirFer
          2
                   (I989) 47 CaI.3d 863, 878. Since, in this case, the Court is the trio of fad, it was required to '
          3
                   determine: (1) what facts Kadisha had in possession when he mounted his opposition to
          4
                   Pditiotzcrs' challenges to his accouQt of his administration of their Trusts, and {2) whether, bases
          3

          6        on those fads, any reasonable attorney would have thought his opposition ss to each claim was

                   legally tenable. {see. e.g., Crowley v Katielmart (1944) 8 CaI.4m 66ti.)                                                                                              .
          8
                           Kadisha canaot escape Liability far his oppositian to a claim that was unreasonsble by
          9
                   jo'lning rt with the opposition to a claim for which he had pt+obablc cause {if any). -Appel, supra,
         ^o
         lli
                   47 CaI.3d 677. ('The Wile was first enunciated iil Berterr^ v, Notional General {1974} 13 Ca1.3d

         12        d3, and Appel affirms it.)                                                                                                 -                          .

         13
                           The fo[lvwing are some of the facts Kadisha knew when he opposed Pelitioners' claims.
         la
                           Kadlsha 's 1988 Acpulsltion of S,^akorn^l ,'^toclt and hla S3f11T.00d Loan to
         is
                           Q afcomm.                                                                                                                    -          -
         t6

         E7                Wish respect to this claim, Kadishs ]cnew, ^ among atfier things, that:                                                                                       -

         is    ^       •   Poiiowing the death of Dafna's husband, he intended W and suocooded at gaining control
         19
                           over Dafua's assets so that he could use thetn far his own pttiposes. He t<new that Dafna
                                                                               - .
         20
                           was depctzdent on him, that she had o:aly a I^ grade edue^stion, na business experience
         21

         22
                           end only limited English, and that he eauld take full advantage of her. He took her iv his

         23                attorney, DeCastro, whose firm was en advisor to Dmninet and was well aware of

         24                Kadisha's financial difficulties, ar ^d who did not ported iaer €xum Kadisha's
         25
                           overrzaching.
         28
                       •   only the esrablishmcnt of Tlust 1 was s eonditian of the settlement wish Lillian Nomaz
         27

         2s                over the foreign assets. There was no need for Dafna to put her other assets into Trust 2


                                                                                                                sT^r^Exir a^ nEC7srorl
                                                                                                                                         ^^




                                                                               ^.s 1'^ <t ^..                   ...-.          ..   ..
                                                    _ _.                     ...................

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          i            under his control, and the creation of Tnlst 2 was the prodesct of DeCastro's•
          2
                       representation of•him, not Dafna.
                                                                                     •
          3
                   •   He pocketed the entire $500,040 Nameo Loan pnaoeeds as part of his plan to use the
          4

          s            Trust assets for his own purposes and never used a dime of it far Dafxia's benefit or TarE

          6            Z's. Y^is misappropriation of the Nannco lAan proceeds left'1^Yust 2 with zero cash to pa

          7            DaSna the $20,0W per month distributions she was entitled to under the terYns of the
          8
                       Trust, ar even alt of her expenses. Kadisha did rat make the required monthly          •
          9
               _       distributions to Daf11a. He also failed to pay ]oellc's and Izzct's overdue tuition after
         to

         li            DeCastro negotiated a grace period so tlt^t Joelle and Izzet could stay in school.

         Iz            Quaicomm's S4 million purchase of Omninet's assets in August 1988 {through which
         13
                       Kadisha abtairled his stack} further weakened an already weak Qualcomm. lrn Novembe
         14
                       1988, Kadisha (who was now a Qua.lcomrn director) irnew that Qualcomm was
         is
                       consistently Iosing money and needed additional funding to survive. Kadisha did not
         16

         I7            have funds of his awn.to loan to Qualcamnn, or even to nay the overdue Nalnco lvarl.

         sa            Therefore, he took out an unnecessary $2 million loan secured by the Strathmore
         I9
                       Residence , and loaned Qualrnmm 5300,000 from the loan proceeds. {Hc also used over
         20
                       $50D,t]()0 of the proceeds to repay the Namca Loan and rnisappmpriated mast of the rest
         21

         22    •       Kadisha knew when he trade the ootlflicted S30U,0001oan that Qesaioomm was in dire

         23            finaztcial straits, that it was consistently losing money; that Qualoomm needed money to

         za            survive until it vould raise additional capital, and that the loan was eztretnely risky. He
         u
                       therefore know that tltc loan was not a conservative investment as he (ludicrously)
         z6
                       claimed at trial. He also ]mew, from DeGastro's memo, that he could not benefit, even
         z^
         2B


                                                           S'I'A'T'EMENC p8 DECLSION

                                                                      164




                                         z ^,^^W_                 ^.3^. __. _ .
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                                                                      `^


          t         incidentally, from the use of Trust assets, and that he was prohibited from engaging en
          2
                    conflicted transactions.
          3
                    Thee 199 Stock^a2e.
         4
                    When he opposed this claim, Kadisha ]mew, among atlier things, that:
          5

          6     •   He did not have any economic justification fvr the sale,     ^   .
          7
                •   He sold Trust 2's stock purely to tease cash far his own use.
          8
                •   He funneled the cash to himself through a fictitious, phantom loan to David Rahban.
          9
                •   He had fraudulent mast aecotultings prepared to reflect a Ivan w Rahban when he ]tnew
         fo

         t^^        that there was no such loan.
         !z     AcgBisitian a^tralco^mm Stock from Farahnik
         t3
                When he apposed this claim, Kadisha ]rncw, among other things, that:
         14
                +   He loaned money to Farahnik whidz he borrowed from his Union B arak line of credit
         !s

         t6         because he knew that he would have control of Dafna's assets and could use them to

         l^ .       repay the Union Bank line of credit for the money he borrowed to loan ro Farahnik,

         is
                •   He used ^240,tX)43 Of tht: Names Loot; ptls.to repay h!s Union Houk line of credit.
         19                                    i
                    He knew , however, that he wind aot admit this because DeCastro had advised hint that
         zo
                    using Tarast assets for his own benefit was a breach of his fiduciary duties.
         2l

         22     •   He knew that the first six explanations that he gave for what he did with the Nantco Loan

         23         proceeds were made under penalty of perjury. but that he nevertheless did not disclose in
         za
                    any of those ea<plsnations that be had used ^2A0,400 of tltc Namco^ Loan proceeds to pay
         zs
                    down his Union Bank line of credit.
         25
         2^     •   He knew that there were no entries in the accounting or any other documents that would

         za         notify Petitioners of his actions.


                                                   STATFd^1F,ttT OF DBCLSION

                                                              f6S




                                        ^^ ^ ^ .^----.. . ^ __. X33._--
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                              ^M).                                           ^Y

                         ^^     ^                                            ^_^

                                                                                                               i
                                                                                                               i
                                                                                                               i
            1       Carson '93 Ltd.                                                                            '
           z
                    VSnc^n he opposed this claim, Kadisha ]mew, among other things, that:
           3
                •   He was prohibited from engaging in conflicted trarisactians.
           4

           5    •   Nonetheless, he invested $b00,000 of Trust funds to enable his parmcrship tv buy a

           6        property t4 house his corporation.

           T    •   Ho intentionally engaged is yet another conflicted transaction when he baughtTnast 2's
           s
                    interest in Carson'93; without Dafna' s consent, an appraisal or Court approval.
           9
                    Kadisha's misappronr3atfona.
         10
         `^ t       When he opposed this claim, Kadisha knew, among other things, that:

         iz     ^   His takings were not "loans" as he persisted in claiming throughout trial. He had
         i3
                    ea3bczzled the money for his or^vn use without exec[iting a promissory note or any other
         14
                    form of documentation; Iie only paid interest retroactively when, years later, he had
         i3

         t5         enough money to t^epay the misappmpniaiions; and he had fraudulent accountings

         t7         prepared .that concealed his takings.
         is     •   He backdated promissory notes prepared aftenc^ repaid the misappropriations and knew
         19
                    chat he had to conceal the fact that they were backdated, as demonstrated by his

                ^fu1 testimony at his^depasition about the preparation and.excc^tiou a
                ■^i                                           ^                ^..
                •   He intentionally designed his accountings to conceal his misappropriations.

         z3         The 20ti0 Stock Decline.

  A      z4
                    When he opposed this claim, Kadisha knew, artiong other things, that:
         23
                •   He did not inform Petitioners that Trust Z owned Qualvomm stock.
         26

         z^     •   He was watching the stock on a daily basis in 2!000, and wand do nothing to preserve the

         ze         value of Trust I's (^ialcomm stock.                          •


                                                     STA7'EM8tY1' OF UECt5it]N

                                                                    !66



                                      4 yf'( rlsY                   ^^
                                      s_dt3^d..; ^   .. _ ... ...


                                      }-`.7fry^                 ^„ ^^ .
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                                     c^                                                   ^^
          t            •   Ne never diversified Trust I's assets to reduce Petitioners' risk
          2
                       •   He never acted in Petitioners' best interests during the entil^^ time he was trustee.
          3
                       •   He did not do anything to staunch the Iosses to Trust ! `s Qualcomnn stock .because he
          4^

          5                retaliating against Petitioners far suing him.

          6            •   .After Petitioners sued him, hp used his control of Petitioners '. assets to extort them to
          7
                           stifle.
          8
                           S5i1^,0(10 Le^ à1 Fees            ^                                          .
          9

         la                When he opposed this claim, Kadisha knew, among^athcr things, that:

         11^           •   He ignored DeCastro ' s admonition that he not obtain any benefit or advantage from the

         I2
                           use of trust assns.
         13
                       •   He ignored. DeCastra's admonition that whenever he oantemplated an act that could be
         14
                           beneficial to himself, he should obtain taint approval.
         is
         i6            •   He did nai provide any form of notice Eo Petitioners that he was taking the money.

         17            •   He opposed Pet itianess ' attempts to terminate the trusts and require him to tum over the
         Is
                           Trust assets.
         t9
                           Attl€Ftrlative Detens^es
         zo
         z1    I           in assectilkg his (baseless } affirmative defenses , Kadishs knew. among other things, that

         22        he had not given Dafna the accountings he claimed he bad given htr, that his accountings .

         23
                   concealed rather than disclosed his m^alfeasanix ; that he had never acted for the benefit of
         24
                   Petitioners; that the three egnegious ;€ttist amendments that purportedly exculpated and released
         z3
                   him had been extracted from Dafna through economic ccentian; and that he had intentionally
         z6

         27    ^ ignored DeCastra ' s advice regarding what his fiduciary dudes were aver and over again.

         Z8



                                                                  STA9'EM^T1'i' OF t3F,ClSION

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                                                     •- ^ ^ts s.; ^                  ^^



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                                       ^._.


                     I                 -^
                 t               Bui one of the most important things that Kadisha ]mew. which relates to his opposition
                 2
                         to each of Petitioners ' clatms as well as his affirmative defenses, is that ire would have to give
                 3
                         false testimony and suborn perjury in order to prevent his wrongdoings from 6eiug discovered t

                         the Cottrt.

                 6               Would any reasonable attor nney have thvP^ht Y^adls6a 's ayuoeitivn iesYaIly tenalate7•

                 ^               'I'lic rie][E question is, based on those .facts, would any reasonable attoincy have thought

                         Kadisha's opposition legally tenable? The answer is a rrsouwding ito.
                 4
                                 Rule 5-ZO[3 of the California Rules of Professional Conduct provides that an attorney. in
                to                                                                               .

                tI       tenting a matter in court, shall only provide a'defcnse that is consistent with truth and shall

                t2       not see1G .to mislead the judge with a false statement of fact . No reasonable attorsicy could

                t3
                         believe that presentilrg the facts outlined above in a way that is consistent with the troth could
                14
                         result in Kadisha's exoneration on any Iegal ground . And no reasonable attorney could have put
                IS
                         Kadisha and his witnesses on the stand kriowing that they would have to give untrue testimony
            '   is

                t7       (as they did) in order to provide a defense. In addition, a irasoriable attorney would have known

                te       that if the Court did not believe Kadisha or his witnesses , ii could disregard alI of their testimony
                19
                         {as the Court has done), and that, as a result, Kadisha would have no evidcnae to support his
                zo                                                                                   .
                         opposition. In short, do r^casollable attoiney could have believed'that an opposition based on
                zl
                         false testimony was legally tenable.
                22

                23               Since no reasonable attorney would have thought Kadisha 's opposition Iegally unable,

      t^        24       the Court finds that Kadisha's opposition was unreasonable.
                25
                                 Bad Faith                                                                                 .
                Zb
                                 Probate Code section 172I1 also requires the Court to fmd Ehat Kadisha's opposition was
                z^
•               ^ in bad faith _ The Court finds that it was.


                                                                STATEM'gN7' OF gB+QSIQN

                                                                           158




                                                   •ti; ^^._
                                                   :r^^ ,^
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                                 `^.                                                      ^.   ,^



                                                                                     ( ^ Y^         "


.         t    '           In determining whether Kadisha's opposition
                                                                     _ was in bad faith, the Catrrt must deternunc i
          2
                   whether Kadisha' s opposition was subjectively in bad faith. "Bad faith" is closely analogous Lo
          3
                   "malice" as defined in malicious prosecution actions . "[Tjhe malice roequircd in ors action for

                   malicious prosecution is not limited to actual hostility or ill will towards plaintiff, but exists
          s
          6    'when the proceedings are instituted primarily far an improper purpose."

          7                `Good faith" has been defined as "that state of mind denoting honesty of grupose,
          S
                   freedom from intention to defraud; and, generally speaking, being fai#hful to one's duty or
          9
                   obligation." Efinn v. KalmarrwitZ (i9ti7) Z49 Cal.App.Zd 187, 192.
         Yo
         ttk               The question is therefore whether ICadisha's opposition was conducted primarily for an

         2z        improper prtrpose. Throughout Kadisha's trusteeship, he acted in bad faith and in total
         is        derogation of his fiduciary duties. There can be no doubt that Kadislre knew that. what he did
         t4
                   was wrong - he did exactly what DeCastro advised him not to do and them tried to cover up his .
         is
                   misconduct.
         to
         r7                As well, sinct the Court has concluded that Kadisba knew what he did was wrong, the

         ^8        conclusion that he mounted his opposition for an improper purpose must follow. 17re Court bas

         !9        found that Kadisha acted in bad faith by continuously brcachiug his fiduciary duties throughout
         20
                   his trusteeship, and with intentional, willful and conscious disregard of Petitioners' rights. The
         zt
                   °O^ has also found that Kadisha perjured and suborned perjury at trial. The Court thelofan
         2z

         23        concludes that be would have lied to his lawyer and never conveyed any of the facts set forth

         24        above and therefore no lawyer could have presented a tenable opposili,on to Fetitiouers' claims.

         ^                 The finding drat Kadisha knew that what he did was wrong is bolstered by the. Evidence
         36
                   Cade.
         27




                                                                   STATEMirNT QF DECISIOl^

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                                            t•^ ^^ f ' 1 F'S ^ -           '^
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                     >\ ^^y
                                                                               _^




                      A presumption is an assumption of fact that the law requires to ba made from another fact
           z
               or facts. (Evidence Code §6pQ(a}} A party is pmsumed to intend the ordinary consequences of
           3
               his voluntary act, and an unlawfill intent is presumed from the doing of as urllawfuI act.
           a
               (Evidence Code §§665, 668} Since lCadisha's brsrachcs of fiduciary duty, perjury aad suborning
           S

           s   of perjury ware both intentional and unlawful, and an unlawful intent is presunacd from the doiul

               of an unlawful act,.the wurE can presume drat Kadisha acted with an unlawful intent.
           8
                      ^Kadishe incorlrctly contends that because 1'etitipners had probable cause to bring their
           9
               claims, this means that he had piobablc cause to oppose tllerrt. The Court rcjacis this. Kadisha
          to

          11   also incorrectly contends that since the trial has lasted,four years, he had reasonable cause to

          12   oppose Petitioners ' claims. The Court rejects this too.

          I3
                      The Amo>rnt of the At#owney Fee Award.              -                                  -
          14
                      Petitioners could nai afford to pay their counsel on an hourly basis. and dlcrcfore catered
          1S
               into a contingency fee agreement with their attarueys ("Fee Agreement"), which the parties
          16

          I7   amended in 200Q. The Court is not limited to an award of attorney fete based solely on the Foe

          Is   Agrcemart. It is to award a reasonable fee.bascd on factors enumerated by the California
          14
               Supreme Court and various Courts of Appeal.
         m
                      TII entering into the Fee Ag^aement, Peiitioneas never anticipated the length of the trial
         21
               (aver four years), which was due in part to Kadisha's perjury and suborning of perjury; andthe -
          xx

         23    full complexity of the issllas and proof required. fn det^^^n+^g the amount of attorneys' fees.

         24-   the Court took into account the following:
         25
                      1. ^    The contingency fee armament;
         24
                      2.      A roadster amount based on the number of hours of work performed, and the
         27

         za    reasonable hourly rate an attorney would charge (assuming his fees were paid monthly).


                                                      STATEMEN'C OF DECISION .

                                                               17D



                                              .;.,,
                                              ^^^ ^^j ^ i            ^^
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                                   4
                                                  ^^                                    j

                             5




                                 ^^




           1^           3.       An enhancement of the loadstar.
           x            4.       Tl^e novelty of claims. Anyone of the numerous claims is this terse , if brought

                separately, would have t+equired a complicated trial. The trial was cvaduc3^d over four years,

                with approximately 3,000 exhibits, 20,fl00 pages of trial testimony and arguments as well as
           S

           b    Kadisha' s applications for funds.             -                            .

           7            S.       The co113plexity and difficulty of proof . Counsel was required to examine        _
           s
                thousands of pages of Kadisha's persona[ records, his business records , and the Trust 's Ards.

                This included hundreds of pages of complex doeualeuts produced by Qualcoutm, including its
         ^^

          ll^   voh^minru , a securities Flings. Counsel took 19 depositions that consumed over 50 days. .

          tz    Counsel 's evaluation of the docilnlcnts was made more difficult by the fact that Kadisha lied

          13
                about his enirits in the purported accountings , his backdating and his creation of phony
          14
                travsadions, among other things . Aa extraordinary effort was required to.eacpose the perjury of
          is
                Kadisha and his witnesses in discovery and ai trial, In addition , the case required the analysis o.
          16

          17    numerous €actual and legal issues in addition tv. the breach of fiduciary duty issues. Them werz

          I8    accounting issues, real estate issues . partnership issues, .contract issues, and professional
          19
                responsibility issues, among others.
         2D
                       -5.       Counsel for Petitiaacxs demonstrated eatraardinaty, excellence irl coanedion wire
         2t
                briefs , oral arguments , direct and cross-ezaniinatioa . as well as discovering and proving
         zz

         23     Petitioners ' claims against Kadislla;                                          _

         24             7.       Samuel Krone, caunscl for Petitioners, test'd'ied that this azattcr, which leas thus
         as
                enoornpassed aver seven years (including over four years in trial) precluded him and his firm
         26
                from accepting other employment;
         z^

         zs



                                                          sr^T^ax of nEC^sra>v
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                                                   aY L„;...       ...,         .. ..
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          t            8.        Counsel for Petitioners have never been paid one dollar for legal foes over seven
          z
              yew. ^^
          3
                       4.        13y taking this matter on a contingency, P'etitiaaers' counsel was gatnbliug on the
          4
              outcome, and, therefore, the amount of fees they would mcxiye.
          s
          5            10. ^ Its own experience as a practicing attorney for approximately 18 years, and a

              judge for approz'Imately 2^# years during which the Court has heard many . many motions for
          8
              attorney fees 2s
          9
                       The California Supreme Court bas stated: "(A; contingent fee must beltigher than the
         to

         t1   fee for the same legal services paid as they are performed . The contingent fee earnpensates the

         iz   lawyer not only for the legal services he renders. but for the loaa of those services. -Tire implicit

         ^^   interest rate an such a loan is higher because the risk of de1'attlt (the loss of the case which
         14
              cancels the debt of the client to the lawyer) is muds higher than that of conventionial loans."
         Is
              Ketcham v. Moses (2001) 24 Ca1.4's 1122.
         I6

         17           ICadisha erroneously coatends that the language of Probate Code ^ 17211 which states:

         1B   "...including attorneys' fees incurred to contrst the account ;' limits the Court's award of
         t9
              attorney fees to fees that were actually incurred." In R'etchrurt, the California Supreme Couri
         20
              held that the analogous phrase "his or her attoarleys' foes and costs" in Code of Civil Procedure
         z^
              section 425 . 1b(c) did not indicate a legislative intent to limit a prcwailing paRy's attorneys' foes
         22

         z3   to "actual expenses caused by the improper pltading." In other words . the simple omission of

  ^^     2a   the word 'Yeasonable" does not imply any such purpose. Therefore, Ketchum allowed the trial
         zs
              court to determine the roadster and enhance it in a contingency fee case . Consistent with the
         z6
         z^
              ^ Appointod to Pasaderw Municipal Court in 3965; appointed to Su^aYOr Court (I-.A. Couaty) in 1967. Retired fn
         28
              1986, AssignodJudgeSinctebout t99t/1992.

                                                        STATEMF^tP Olt I)EClSION                    -     -        ^^

                                                                    th                                                   -

                                             ..,,,^^,e,^,^
                                                                      1'1                                                      l
                                             " ,,y                 ^'
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          t    Supreme Coup' s holding in Ketchum , this Court has calculated attorney's fees in plaecisety the
          z
               same way.
          3
                       Kadisha also incorrectly argnies that when you divide the Coup's award by the number of
          a
               hours Petitioners" counsel^warlced on this cast, the result is an hourly rate in excess of any
          3

          u    reasonable hourly late. This is a lioacensical analysis in a case, such as this , where the Court has

          7    efllnaneed the award.
          s
                       The issue of apportionment that Kadisha has raised and any other issues involving
          9
               attorney's fees will be dealt with when the court lutes on Petitioners motion for attorneys' fees,
         10

         ll^   which will be heard after entry of judgment.

         l2            1[V.    K.ADLSHA'3 AFPYRl1^IATIVE DEFENSES
         13            Since the court has found that Kadisha and his witnesses gave perjured testimony and is
         E4
               disregarding their testimony. Respondent has not produced any credible evidence tQ support any.
         is
               of his defenses.
         t6

         17           .Nevertheless , in analyzing Respondent's defenses, the court finds some review of

         is    important facts very revealing as to how tquity^ should consider Respondent 's defenses and, in
         t4
               particular, the statute of lianitatians defense.
         20
                       The court granted Dafna's zequest to be questioned and give her answers in Hebrew, the i
         zt
               court filncling her oral eommurnication ability, however, weak, would be better in Hebrew. While
         zz

         23    Respondalt cites pages of her testimony , they do not reveal the bewildered look on her face as

         2a    she sought to understand Nussbaum ' s questions. "l don 't remember; ' is the best she could do.
         2s
               The court fords these answer were not evasive. Dafna is plain and simply a person who lacks
         25
               understanding of financial matters ..let alone whet trusts are all. about and her rights to know how
         27

         2s    her funds and tier children's funds were being handled by Kadisha.



                                                         STATEM6IVT OR DECISION

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                                                .,,: Ft:^,,,,^.         ^^ .
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                                  o ^ ^ {^
          t                The court leas already covered the appalling legal representation by 13eCastro . The mare
          2
               the court reviews his conduct, the more disgusting the picture becomes.
          3
                           Equally appalling as DcC.astro's tzpresentation of Dafna is the production by a law firm ^'
          R                                                                                                                 i
              of three amendments to the original Trust agreement re Trust 2, relieving Kadisha fmm any and '
          5

          6   all liability for anything; as herein before stated, as well as the fact a rrasonable person could

              well consider the amendments ss acknowledgment of wrong doing and, further the obtaiaiatg of
          8
               all waivers was without consideration . Equity cannot permit such an^ attempted travesty of
          v
              E justice.
         to

         it                Respondent seeks legal cover in the statute of lirrritations by advancing a very chilling

         12   groposition akin to "buyer beware:' Respondent urges upon, the court the belief, a very chilling

         13
              one, that beneficiaries must assume their trustee is not to be tntst^ed based upon some sort of due
         14
              diligcace requirement. Apparently, Respondent would have it that all beneficiaries employ
         t3
              1'inkertons and constant auditors to investigate everything a tnrstec does , and if not, the
         16

         t7   beneficiaries will be victimized not only by their trustee, but also the statute of limitations. The

         1$   court finds this profoundly shocking . 'There must be medication for Respondent to overcame
         t4
              this aberration.
         20
                           Probate, Code sections 16460 and 16460(b} re the Statute of Limitations cannot be
         at
              applied t+o bar Petitioners ; claturs. How could equity ever think of applying the Statlifo of           '^
         22

         23   Limitations to a helpless. not-too-bright lady when her lawyer snd trustee have left her bereft of

              any thought of inquiry as to their conduct? Consideration of Dafna is in many ways sintilar to
         2s
              drafting a complete evaluation of a dcvcloprnentally disabled person in need of protection from
         26
              those who would take advantage of her in an incredibly difficult social and economic adjustment
         27

         28



                                                            SPAT^I4iF.N1' OY^ 1)EC7510N

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                                                  ...^r:^d^a;
                                                  r'f'^it?sit €               1^
                                                                   _ ......,_____.__..__.,.^..__..^._.


                                                   :.^ _.
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                                 ^^
                                                                                    ^'1


                            \!                                                `/
                                                                               `.    ,^
                            ^\




           t            M intcrrsting question arises whcn^a defendant seeks to raise the Statute of 1_imitaiions
           2
                as a barrier to his fraudulent conduct. Mildred lsglie, one of We all-time great Appellate Court
           3^
                lustices^of the State of California had zero tolerance for a witness testifying falsely under oath.

           5
                In one case, she declared that a witness giving false testimony under oath was not entitled to the

           6    attorney-client privilege. The court is certain she would t+egard, as does tlds cool, the idea that a

           7    wimcss ran give false testimony and later attempt tb change the iYrlpsd thereof by an
           8
                "amendment" should be treated as^contemptuous of testifying truthfully as a oornerstonc of the
          9
                judicial puss, i.e., having the duty to tell the truth under oath. The court having found
         'lt]

         Ett'
                Kadisha as giving false testimony under oat7a, he should be deprived of any benefit o€ a statute of

         i2     limitations . His fraud is a continuing thread during his term as trustee eliminating his statute of

         13
                limitations defense.
         E4
                        While Petitioners have painted out the lacking of ability of Kadisha to charge Dafna with
         Es
                inquiry or ratite, the court cannot express too strongly her intellectual inability in mstteis
         t6

         17     Respondent would like to show knowledge, duty to irlquirc or whatever. Dafna wes badgered by

         is     Respondent with an array of questions' that left her baffler] as to how to answer. Atypical

         t9
                question was to ask her if she received a ccltain docunQent. Whcn.slie would answer "No," then
         2D
                the following question would be asked: "Da you have any rrasoA,to be11CVe yaU did riot ret^1VC
         21
                this document?" Dafna would look bewildered and then say she didn't sec or get the document
         zz
         23     counsel roferred to. The exarniaation of Dafna toolr many days and Duly ofl'ercd further proof

         2a     she was rat capable of being "reasonably capable of un^etstauding any account or report," or if
         25
                present with sottle dncument,'Ycasonably shauldhave inquired into the existence of the claim."
         26
                       The court cannbi acacept, as Kadisha urges, that the provisions of Probate Code Sections
         27
                1G460(a) snd 164G0(b) can be used to shirdd a trust^ce who has unlawfully used trust funds,
         2a

                                                      STATEMENT OF DECISION

                                                                  1T3
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                               o                                            ^^
           t    stolen trust money and catnmitted penury. There is also no way a heneficiary can be reasonably
           z
                capable of knowing what the trustee has done as to wrongdoing if that cannot be ascertained
           3
                from an accotmt flr report which provides insufficictst infa^uEation for the betsc^tciary, to
          4'

          s. reasonably know the claim or be put on notice of the claim.
          G             Ttte Legislature has not provided and determined a tnsstee can ktep a 1 it11e blade book of

          .^    all his misdeeds and then run up the victory flag after the statutory pc^iod has run . hr fact, the
          s
                Legislature in 2004 recognixcd a deficiency in Probate Code sections 1t,46^0(a ) and 1ti460(b) and
          yl
                enacted Probate Code section iti461 which provides for a specified notice and a period in which '
         to j

         l1a    a beneficiary' may object. But in doing this; the Legislature did not firbd any notice retluirement

         i2     where the tnis#ce has cotnrniilcd fraud , perjury or outright theft of trust assets.
         l3
                        The court must put to rest any idea that Ron Levi is a responsible factor in dct^ermining ',
         i4
                Dafna's mental capacity to know or understand the terms and conditions of the trust documents
         15
                or the sa-called accountings made by Karlisha ar his employee or anything relating to what
         t6

         17     lCadisha was doing with trust money , Levi is as dumb as a fence post . - He is not a party to this

         E8     action. There is na legal document authorizing Levi to act as Dafna 's agent: There is rio
         iq'
                evidence that Dafrsa made or regarded Devi ^as her agent, There is >za tvidentx Levi read any
         zfl
                trust daceitrients . He was, at best, a delivery boy. He got checks from Kadialsa. The fact he may
         zi
                have m^ceived dacun.^eerits is meaningless. Proof would have to be that he read and understood
         22

         23     there, If he did, he would eat know how to interpret them, and his understanding would not be

         24     binding on Dafria. He had no knowledge of Kadisha' s self dealing and using trust funds to his
         23
                owns advantage. Accountings (if they can be so improperly labeled) were meaningless to him.
         zs
                Levi's sole interest was how much Dafna was getting from I^adislia.
         z^
         is


                                                       STATEMF.^!'P OF DECt.510N

                                                                   t7d
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                            `^.    ^                                                   ^L.. _: ^



                                  ^^


          1            Allowing Kadisha to have control of the Uxyel assets was a recipe far disaster. Kadisha,
          2
               looking for gXue everywhere to bolster up his claim of^knowledge . dug up a letter to Kadisha
          3
              with an acknowledgtneltt by Dafna, Ron Levi and Izzet that ^(]t?,(lOQ annual income would be
          4
              sufficient for their living czpenscs . Dafna and Ron Levi is no brainar combination . Levi should
          S

          s   not be allowed to tell time. Dafua 's salt interest, perhaps better dcf"med as an obsession, was to

              get money . Perhaps a psychiatrist could peel the layers of lifetirxie events and reveal her
          s
              compulsion . Money may well have bctn as opiate to believe her of the itrcomprehatisible lift
          9
              without her husband. To try aad tag lzzet or Joelle with any of the ]mowlcdge rcguirements of
         to

         11
              Ptnbate Code sections 164bt? ( a} and {b ) they try and impute their knowledge to their mother is

         13   ^ beyond silly.
         13
                       The concept of Kadisha trying to use Probate Code section 1ts460( a} and (b) is without
         la
              merit. Kadisha had no respect far the obligations of a trustee; he had no hesitation to take nearly
         is
              all the trust money obtained by loans on trust property for his own ust and beneht, yet he would
         16

         t7   proffer knowledge about trust and his eanduct by a letter written without any legal advice in an

         la   attempt to get money to live on. (A standat^d few know, but one to which they had become
         19
              ^ accustomed.) Dafna had to plead for money. )ii fact, drat is what brought bar to Krane & Smith.
         20
              Dafna had the idea she was to get money from. Trust 2. Her trust. Her money. Ron Levi, a
         21
              signatory to the setter is as dumb as a fence post. A perfect snatch for Defile. He lead no
         2z

         23   'authority in the matter. Kadisha would make him an agent far Dafua. He was no such thing. )n

  R      24   any event, an agent does not sign a letter upon which the signature of the principle appears. It is
         zs
              i a legal nothing. He had absolutely no standing - a rooter for the team. And what did young
         26
              Izut and Jcelie know of all the horrors of Kadisha as a trustee ? Nothing. Jxzet testified and
         27

         zx   appears to be a fuse young man who, hopefully, can be of assistance to his mother in the future.



                                                                5'I'ATEM$IQ'T OF p^CLStON

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                                         ..^ :t r
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                            `^^..                                            ^`^ ... ^




                                    ^^                                    ^.1


          1     In short, the letter is not evidence of knowledge but quite to the contrary . With krlawltclge about
         .^
                Kadisha' s hehnstnanship of the trusts acquired by an able lawyer. Kadisha would have been Long

                gone.
          4

           s
                        Tlx other acts clairrled by Kadisha to show knowledge about the trusts are equally

          6     without merit. To suggest the accountings gave notice to Dafua is absurd. (To suggest the
           7    accountings gave notice to a reasonable person is equaDy absurd.) ^ As to conversations. Dafna is
           B
                purported to have had with Kadisha's other helpers. the court fouls more probably not true than
          9
                true. None of the instances recited in Respondent's brief couvincea the ca^lrt that Dafna ever had
         '10

          !l^   the wherewithal mentally to rnalce any value ^udgtnent about what was going oa with the trusts,

          iz    or the fact she had been deprived of representation by DeCastno acting es her attotzley when in
          13
                truth and fact he was Kadisha's lawyer.                                  ^       ^-
          14
                   -    Mr. Nussbaum, a counsel for Kadisha, sought to show Dafna's right [A sue Kadisha on -
          is
                some of her claims and those of her children fail pursuant to'the Rebate Code sections Ity4ti0(a)
          16

         17     and (b} because of krtowledge of Levi. Of course, Levi's knowledge (if any} about anything

          to    cannot be imputed to Dafna or her children. IVir. Nussbaum used a trick question on Levi as he
         19
                had clone with Dafna. He had Ixvi look at a trial doeulnent 3492. kTe then asked IVir. Levi, "Do
         zo
                you have any reason io believe you didn' t get.:.l'm sorry. Do you have any m ason to believe
         zl
                that you did eat gat a copy of that letter and the enclosure?" Dumb Levi says. "No." The trick
         2z

         23     of Nussbaum`s question is the assumption he did rxeive the docalment., The coiut does not buy

         za     the answer as evidence he s^occived the subsea document. Nussbaum asked Dafna his usual
         25
                question, "Q. Do you have any mason to believe you didn't receive it?" Dafna was deFulitely
         26
                confused and answered that she had eat received the document.
         Z7

         2a


                                                         STATEMF.N7' OF D8QS10N

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                            ^                                            C.^^

          1          In his examination of Levi, Nussbaum asked, "And is it your best recollection that you
          2
              did receive this letter and the enclosures?" Levi is now confused. He answers, "I don't
          3
              remember if I get it, but I think I did. I'sn not sure. Usually when I used to get letters, I used to
          4
          ^   get an explanation before, so I didn`t resUy read this letter. It was either verbally explained to

          6   me or whatever, but I never bothered to read whatever is inside." This answer a, ffirms that as to

          7   the subject exhibit Levi was presented with, he does not say he read it or knew what it was about,
          a
              "Usually,".is not defu3ite to prove he lmew what was irr Exhibit 3492. In no cvent^caa his
          9
              answer be used for proof of the contents, particularly given Levi's mentality rating. The c :ourt's
         1Q
         tt   general inquiry was not about Exhibit 3492, yet Respondent argues, "Mr. Levi's testimony

         lz   confirms Mikhaili's testimony that she had given TE 3492 to Ivir: Levi with the 1492 Trust

         13
              General Ledgers. It does no such flying. All Levi's testimony is in response to the oaart's
         t4
              inquiry was he "got a general Iedger account." He did not identify the account.
         13                                                          -
                     Respondent further states: "'everything' Mr. Levi received coracenning the trusts he
         16

         t7   passed arJ io Dafna." Therz is no evidence that Mr. Levi received "everything " VYhat Levi

         is   r^eccived as a delivery boy in no way falls within Clark Equipment Co, v Wheat, 92 Cal.App.3d
         t9
              5D3. No notice can be imputed io Dafna by Levi acting as a delivery bay. The Respondents'
         zo
              following statement i9 just wild conjechrre.                                                            j
         2#
                     `"1'he 1942 Trust General Ledger accountings Mr.' Levi received and discussed with
         22
         23   Dafna contained ample inforrnatian, at minimum, to cause a reasonable person to suspect chat

  A      ^    Mr. Kadisha might personally be engaged in financial transactions with the frusta." The

         ^ Respondent then Iists what it would take an able trial lawyer or CPA to discern as "the fuel for
         26
              that suspicion."
         27

         ?8



                                                       S'^A7'EMEN'1'OFDEC1St4N

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                                        [   ^-.•-.,.



                                        s^^ ^.,,< < ...._,__.. ,.,._w._. ^^^
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                              r^ ^                                          ^:^
           1           The wild oonjecttrre is beset! upon the fact Levi and Dafna "diac^ssed " the aGCOUntir^gs.
          2
               `There is not a vestige of acceptable evidence that they did. Respondent would have the caourt
          3
               draw as infec+ence of knowledge of what Devi and• Dafna discussed . It is the covrt's.opinion that
          4
               the Levis together or singly could not understand the so-railed accountings . The Raspandent is
          5

          s    grasping at thin air in attempting to use the so-called acaoountings as planing Dafiu,a os notice of a

          7    anything. To the contrary, the so-called accountings were designed to doccive and hide
          8
               Kadisha's devious and gross abuse of the trust assets given to his care.
          .g
                       Kadisha's "accountings" arc basically fraudulent as they fail to disclose the willful and i
         `to
         1f^
               unlawful taking by lCadisha of trust money, his cartflicted transactions and his profits from Trost

         l2    assets. The Respondent cannot rely on such eoncealmenE as a statute of limitations defense. Tf

         13
               you frandulesdy and unlawfully adnurustcr a trust, there is no way you can charge a bec^eficiary
         If
               with knowledge or duty to inspect - it is not the beneficiary's duty to be on constant vigilance fo
         is
               fraudulent conduct of the trustee . A benefeiary must have the comfort a^trust is supposed to
         is
         17    provide, not administered by a dishonest person. Concealment and fraud cannot be used as a

         t8    sword in favor of the statute of limitations . ' VYhat ICadisha is really saying is that i#' I Gan cleverly
         19
               ^ disguise my so-called accouatitlg but provide sonic slight clue as to my wrongful dealing and
         20
               you are not smart enough to find it, you can suffer without equity' s ^assistanGe. It does not wort
         21
               that way.                               .
         22
         z^            There is a further basis for disallowing Kadisha to escape from liability by use of the

         zR    statute of limitations . The court finds the case of Gold a Weissrna^ (2004} 114 CalApp.4a` 11951'
         2s
               supportive of the concept that where a trustee continues to rid as a trustee on any claim of breach
         26
               of a trustees duties, the statute of limitations will be tolled , and the breach need sat involve the
         27

         28
               same matter. but only that the trustee continued to act as trt3stee.



                                                      5TA7'^M)..N'i' OF OEt^sION

                                                                  1B0




                                           Jt^2:a=1              ^^




                                          • ..             .......^^g____^____-_
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          1^             While the Gold case involved malpractice . the same assumptions are made, i.e., duty, an
            i'
          2
                 the continued duty tolls the statute. It is particularly applicable in this case where Kadisha has
          3
                 control of trust documents and the cxeadon or modification of same over which Dafna would
          4
                 have no lcrlowledge or coretroi. It cannot be just to allow Kadisha to drop the iron cattalo on asal
          S^

          b      of his derelictions as long as he is in power and places an innocent, bewildered beneficiary from

                 having the right of legal action.                                            .
          a
                         Kadisha`s argtunents regarding the statute of litnifations , ladles, failure to mitigate,
          9
                 equitable estoppel, unclean hands, and ratifeaiioaa/afFlrnlation ore all fatally defective. These
         to

         It
                 argumez<ts either fail to comply with the express'laalguage of the Probate code or are based on

         12      inappositt or miss-cited cases cited by Respondent. Most critical, lCadisha disingenuously

         13
                 argues that the true meaning of his intentionally misleading and deceptive accountings -which
         14
                 Kadisha claims he gave to Dafna -- could have been deciphered by his hypothetical "reasonable
         ^s
                 person bcnefrciary." The threshold question, assuming arguendo that Dafna actually received t}
         t6

         17      "accountings," {which the Court does not believe she did) is whdher pafna was `Yeasomably

         18      capable" of understanding them. Since it required a Herculeon effort by Petitioners' counsel arN

         19
                 their experts to unravel Kadisha' accountings," the answer can only be reo.
         2p -
                         In short. the evidence unequivocally showed that Kadisha exploited Dafua's lack of
         21
                 capacity to reasonably understand the accountings. Since Dafna waa not reasonable capable of
         zz

         23      understanding the "eccotlntings," therefore, She Cannot be deemed to hSYe rrxzived them under

  A
         24      Probate Code section 164ti0(b}(1) and the tbxtio-year Iiluitations period did na1 conitncncc
         25
                 rearming.
         26
                         Kadisha's argument that Petitioner's ptr^1996 claims are Barred by the statute of
         z7

         zs
                 lisrlitations because Petitioners allegedly received accountings and other documents



                                                              S'1'AT6METi'1' OF A1rC1.S10[Y

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                                             ... ,. _._ . 1       ,_._.._^ ^^
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           1    ("Respondent 's Documents' for the years i98$-1992 that would have put a tcasonable person
          2
                on notice of fu3ancial traiosactiarls betweetl Kadisha and the Tlzlsts pointedly ignores Probate
          3
               Code sections 16460(b) and 164^6(?(b)(1).^ Since ibis analysis mttst be based on Dafrw's,
          4
               capabilities and Dafna was not reasonably capable of understanding Respondent 's documents,
          s
          6    she cannot be deemed to have received them, and therefore the statute of limitations cannot be

          7    ^ deemed to have cornrpencxd n,nning,              -
          8
                        It is undeniable that far the entire duration of Kadisha 's ttustceship, Dafipa could not have
          9
               understood the accotwtings . This is underscored by Kadisha's admission during trial that even
         '10

         IG    he could not understand the critical wmponents of the acoatmtings that he professes Dafna '

         12    should have understood . Finally, ait'hough Katlislln knew that he did not tmderstand the

         I3
               accountings, artd that Dafna (wham he described as "stupid "`} could not have understood them,
         la
               i.e., Hugo DeCastm ("DeCastro"} and Aaron DoodYevitch ("Doadkevitch"), Da61a's accotuttant.
         !3
                        Even assuming arguendo that Kadisha could hake established at trial that Dafna was
         Ib

         I7    reasonably capable of understanding Kadisha's accountings -- which he did• not -- R.espondent's

         t8    Documents do not meet the disclosure reQuirrarlents of Probate Code section 1C4fs0(a), nor did
         19
               i they disclose Petitioners' chinas. Under that section, the statute of lilnitatioas does not begin
         zo
               running unless the accountings received by the beneficiary adegtlately disclosed the eltistentx of
         zl
               a claim.a0 The issua framed by this sectiop is whether Dufna ]mew vr, given her capabilities,
         zz
         23    should have mown of the existence of her claims. Kadisha's argniment that this issue must be

         24 ', decided m the basis of what a hypothetical'teasonable person beneficiary " ^shauld have

         23

         xb
               ^ Sections 16d6[3(b? and 164bd(bx 1 } pmvide, into of ia, that: "Fur purposes of suhdivislou (a), a beneficiary is
         27    deemed w have received the accaurNing ar rcport as follows: ( k) In the case of ao adult w+iro Lr rnosor^abty capable
               a} t rtde^Jt[utding [!u account ar report, if it is roccived by the adult personally" (1?rnFhasia added.)
         za    ^ An account or report adequately disclosed the existence of a claim if h provide su1'fcitat infnrenat, aa w that the
               bencficlary knows of the claim or reasonably should have inquired into the existence of the claim" (ptobate Cade
               c.rrin.. ]IdlSN■ 11

                                                           53'ATFM>vi^i'i' QR ABCLSIQIV

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                               ^'


                                                                                  C'-^`



          1       tlndersiaad is not supported by his ittappvsite cases, the plain wording of the statute; or logic sl
          Z
                  In addition to the plain wording of the statute. t ioldring. Petitioners' expert testified filet under
          3
                  the standard of care^for a Califarnis trustee, {1) dust accountings should be prepared sa that the
          a
                  beneficiary can understand them; and {2) it is the trustee's responsibility to consider the
          s

          6       education, economic and business sophistication, and eaperielltx of the beneficiary when
          7       preparing his accountings. [RT i7, 7-30-03;^RT 29-33, 7-30-03.) '1'hesc are obvious col+allaries .
          s
                  to Probate Code section 1646t1's lisle that all accounting is not deemed received by a beneficiary
          9
                  unless the beneficiary can understand it.
         to

         It                The evidence established that Respondent's Documents were intended to cotlftl3e and

         12       mislead Daftta or anyone else who might see theca. K.adisha fs cstopped to now argue that

         13
                  should have discovered and pierced through his deliberate acrd fraudulent deceptions (e.g.,
         14
                  Kadisha identifying his misappropriations of Trust fiends "investments° and backdating
         15
                  promissory notes to retroactively convert his talcings.into loans).
         36

    4    17           ^.   Even if a "reasonable person beneficiar•}^' standard applies, Respondent's Documents did

         to       not disclose Petitioners' claims to a reasonable person and would not have put a rtirasanable
         19
                  ,person an notice, They were lrtteniionally misleading, deceptive, confusing turd fraudulent and
         20
                  were designed to hide Kadisha's breaches of fiduciary duty:
         zt
                           In stun., there is no credible evidence that Dafil^ trccived Respondent's Documents.
         2i
         23       Even if Dafna had received the doctlrrtents, she could not have understood them, She lacked the

         24       inteliigetlce and education to do so. Kadisha's accountant admitted that trrtdcrstanding the
         25   E
              E                                                                    i


         2G
               ai In dctannimiAg a rsasanabk person standard, should an inexperienced , eldetiy unatucated beneficiary be held to
         27    the seine standard as a VYhnRan gnsduatc CI'O beneficiary? Or vise vexsaT That woatd obviously impose an
               irnpassbk burden on the ddcriy beneficiary. Cs a "neasanable person bencficiary° then the average of the two?
         28    That would stiff! impose an impossible burden on the elderly beneficiary , lCadishs 's objacdve reasonable person
              ^ standard -which is derived exclusively from non-Trust cases -simply does not make sense in the trust context
               wha^e the duty of loyalty is owod to a specific individual with specific cbarscteristlcs.
                                                            S'TATLMFNI' OR D^CtSION

                                                                       t8y


                                                   i7j ^t5"i            ^^




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                                                                             ^'^.



                                                                            ^J
          t    acconntings would rsquire specialized knowledge about accounting. And, iE took Pet2tioners'
          x
               counsel hundreds of hours to uncover Kadisha' s acts from his doctuneuls. Dafita, terefone,
          31
               cannot be deemed to have'^eceived" Respondent's Documents under Probate Code section
          4
               1646t?{bx1) even if they had bees personally delivered to her. Even if Define could be deemed tc
         •s
          6    have received Respondents Documents. they would not have revealed to Ixcr, or any rtasortable

          7    person. the basis ^foi Petitioners' claims or further iAgrtiry. Therefore, Kadisha's statute of
          a
               limitations defense mrrsi fail.
          9
                       The evidence conclusively proved that I}af'tra v9as not reasQ[rably eaa^ble of
         ^0

         11.           understandins Reslxitrdent'a Docuru n

         tz            The evidence abundantly illustrated that Dafna was not reasonably capable of

         13    turderstsnding the accountings. At trial, Dafna repeatedly demonstrated a total lack of
         14
               understanding of even the simplest financial matter or legal concept. The Court duripg trial
         is
               made the following observation:
         i6

         t^                    "Ms. Uzyel may be a very delightful mother and a wondcrfitl
                               person, but when it comes to Were Maadal matters, she was
         16                    practically braltt-dead In Fite bandling^ of Rnandng and
                               knowing what's going otr. 'I'bis is j ust -she's ,jnst inoaanpetent.
         19
                               What she aecded was a cotrservator In this mdtter:'
         zo
                      The court has not changed its opinion.                            ^                 .
         zl
                      'I'!re inability to understand fuiancial matters Dafira demonstrated at tzisl was uadoul:
         xz

         z3    even mom pronounced in 19$8 through 1992, when Kadisha contends Dafna t^eceived the

         x4    documents chat purportedly disclosed her pre-1996 claims-
         25
                      Preliminarily, Dafna's primary language was Hebrew; she had trouble understanding
         zb
               English or reading a newspaper; and when she spoke to Kadisha, iE was in Hebrew or Farsi. {RT
         z7
         2s


                                                    5TATEMF.NT OF Y)EL'iS10N

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                                                        '>''"^         ^^


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                            t ^

                              ^                               ^         . <^
          t   17, 6-I8-02; RT 29,1-21-03; RT 35, 1-2I-03; RT 39,1-2i-03 .) The accountings , however, wan
          x
              in English.
          3
                      Dafna only had a l0a'-grade education , and the only job she held in her entire life was a
          a
              makeup artis # after high sdtool, {RT 27,1-2I -03.) Dafna stopped working after her marriage.
          s
          6   (RT 28.1-21-03.) Before Dafrsa's husband died , she had never opened a bank account herxelf or

          7   signed a loan dvcurrrent . (RT 39, 1-2i-03 ,} ICadisha admitted Dafna and Ron 1„evi were
          8
              "stupid." (RT 7 1-72, i 1 -5-03.} Kadisha's accountant, Michael Feldman, admitted that Dafna
          9
              would have required knowledge of accounting to understand the ^xountings . (RT 5, I-24-03.}
         tv
         it           Kadl^^ia's other a^rma#lve tlefenses3rtas^ ^^^ti

         !2                  A.        aches.

         t3
                      Kadisha argues that laches bars Petitioners ' ciairns for lost.profits for Kadisha's
         t4
              purported .`loans" to himself, the "Rahban" loans, and the Farahnilc loans . His larhes' argument
         ^s
              relies mainly upon the unsupportable premise drat the accountings disclosed that Kadisha was
         16

         tr   "loaning" Trust funds to himself sv that Petitioners knew about the improper "loans" but did

         to   nothing. As discussed at length above, Kadisha's accountings concealed rather than disc[osed
         is   his nvsappt^opriations of Trust funds.
         24
               .     The accountings misleadingly showed Kadiaha's unlawful taking of trust monies from
         zt
              December 1988 --1991 as "investments Kadisha" not loans rxeivable from Kadisha.
         2z
         23          The accountings also failed to disclose that the Rahban loans were disguised unsecured

              loans to Kadisha . Kadisha casanot be equitably permitted to'argue that the delay in discovering
         25
              his misconduct, which was dated by his owri attempts to oomcxal it, bars Petitioners' claims,
         26
                     Ksdisha's claims to having been prejudiced are equally unfounded . He First claims that
         2^
         28
              by not complaining about the "loans ," Petitioners "gulled" him into slaying vn as Trustee when



                                                     STATEMENT' bF DEC]5fON                                  - • ••^

                                                                  rss



                                                     . t .,
                                            :^ ^ w
                                                z :^ ...^_ _ . __.S^ . r.._ ..
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                                 a                                                 ^^
          I he wanted to resign. 'The evidence, hpwever, demonstrated that Kadishs never had any intenilpu
          2
              ^of resigning, and, in fact, could not resign because a successor^tru.stee would have readily
          3
              discovered leis malfeasance. For example, Kadisha drafted the )une I4, .I991 Fast Amendment
          a
              which. al:zong other things, emended paragraphs A.6 and A.7 of the origis3al tn^st agretulent, to
          s
          6   now requirz that Dafna give him 36 months ' notice before she could rcttxove him as Trustee (and

          7   to then allow Kadisha to select Ills successor.) (TE 42$ .} These provisions were an obvious
          8
              stalling device to give Kadislla time to repay the Trusts far the millions of dollars he had
          4
              misappropriated from them, and shows that he could not Design because of the risk of discovery,
         fo
         u, The most campeilillg evidence to debunk Kadislta' s contention is that in I993, he had Kahn draft
         i2   a modified-tryst, agreement (TE 3592}, which provided, among other things , that Kadisha could

         13
              only be removed for cause, that Kadisba had the right to choose a ca-trtlstec, and that he had the
         14
              power to choose a successor trustee.3^
         Is
                       As weIl, in 1'994. after wgamencing this litigatiaq Petitioners attempted to terminate the
         15

         17   Trusts and rcc;over the 1`nlst assets . Kadisha lt+fused to voluntarily comply with Petitioners'

         Is   notices of teaninatian, and they were forced ^ta scr3c turnover orders firm tht: Court. $^en then,
         19
              Kadisha dragged his feet in turning over the assets . I•n other wordy, thrnughoui his trusteeship,

              Kadisha actively sought to prolong his tenlu+c as Trustee. Tn fact, when he was given the
         7i
              opportunity to be relcasod from iris trusteeship, he refused.
         2z
         z^            Kadisha also claims that Petitioners "guQed" him into continuinghis "high-income-            ',

         24   yielding strategy.". This refers to Kadisha's absurd claim^that he was forced to make risky
         25
              investnieuts and loan Trust ftulds to birnself in older to meet Dafna's income needs. This
         25
              specious claim is simply another form of the "blaming the victim" defense. Petitioners' Closing
         27

         zs
              #r "For Cause° was more trstrictive than the definition for any othtr tiustae.
                                                          S'1'ATF.53^Kr OF DtiL7SION

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                                       __ _    _ __
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                               ^^                                         c^
              f Brief also points out that Kadisha could not have repaid the loans because ha did not have the
          2
               fiurlds to repay them {hence , the provision he inserted in the First Ameudinent ). Kadisha initiate,
          3
              his breaclirs of fiduciary duty of Ills own free will and continued bleaching Ills fiduciary duties
          4

          s
              of his own free will - he was not "gulled"^ into it by Petitioners.

          6           Kadisha's claims that if Petitioners had wmplained about the-"leans," he wild have

         .7   sought Court approval before continuing on in the same vein. This claiun. is also absurd because .
          s
              it would have required that Kadisha gv to We Court, voluntarily disclose Iris improper activities,
          4
              and. seek its blessing.to contimle breaching his fiduciary duties. (One can imagine the diffic^xlties
         10

         It   of explaining to the Court that the "loans" were unsecured, as required by the Trust, or that there

         t2   were no signed notes documenting them, or that "Rahban' lived somewhere in Trap or Europe

         13
              and did mot have any assets in the U.S.) Seeking court approval was something Kadisha would
         14
              not have done under any circucx;.stances. His failure to do so was therefore not the result of
         15
              aAything Petitioners did ar did not do.
         l5

         t7           A.      Failure to mitiaa#e.

         i8           A pally is only obligated to mitigate when he is'hsrmed, is aware of the halm, andhas the
         J9
              ability to mitigate his damages. In this case, Kadisha concealed his broaches. and now claims
         20
              that Ped
                     'boners shoelld ha ve tnitigaced. But Petitioners did not know the full extent of ICadislla 's
         2I
              breaches until trial. T?ven then, Kadisha lied and obfuscated the tale facts. The court will riot
         22

         z^   reward Kadisha For leis egregious breaches and his extensive concealment of these breadles.

         24           I3.     Ectllltable estop^l.                                                    .
         25
                      Tsar a rrourt to impose equitable estoppel , it would have to Fuld that it was Petitoners'
         26
              failure to act that prejudiced Kadisha. Il is, however. Kadisha who should be equitably esWpped
         27

         2s
              from raising ibis defense. It is he wha concealed his breaches and lulled Petitioners irlto



                                                      s^^^x^v^ aF a^ctstarv
                                                                ^^
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                                ^                                           ^

           t    believing [ hat he was acting in their best interests when the opposite was true. Furthe^rnore,

           ?^   Kadisha was always awarc^of his own wrongdoing because it was intcational. Therefore, his
           3
                defense of his wrongdoing cannot have been compronniscd in any way by Petitioners' failure to
          4
                discover them earlier. Kadisha's contention that Petitioners intended to mislead Kadisha by not
          5

          s     compla^ing abostt his actions is absurd . Since he oonccaled his wrongdoings , P^itioners could

          7     not possbly have aompla'rrted about there.
           s                                                                                         -
                        C.      Unclean hands.
          9
                        Petitioners did not, as noted above, "encourage" Kadisha to brrach his fiduciary duties.
         y^
          t^^   Kadisha d id that of his own volition . Kadislxa was completely in charge of the Tnrsf assets, and

         r2     the flow of inf'orrnation and money to Dafna . He not oualy held all of the sands but was

         13
                unquestiouabIy stronger than Petitioners in terms of intelligence, education and experience. He
         34
                thought Dafna was "stupid : ' Kadisha's unclean hands defense is a ridiculous attempt to claim
         is
         16     that he was helplessly misled by a woman he regarded with contampt , and her minor children.
                                                                                                                          I
         t7             D.      Ratifira^lon/Afirmatiou.

         ^$             An enforceable ratification or af^`rrmation of Kadisha' s btrachcs required frill disclosure

         tg
                .to Dafna of her material rights and the material facts, and tF^e transaction is question invoivod a II
         20                                                                  .
                bargain with the trustee that was fair and reasonable to the beneficiaries . (Prob . Code ^ 16465.}
         xt
         ^ Kadisha has not claimed that he or anyone else made such a disclostue to Dsfna, ar proven that

         ^ .the acts or omissions allegedly ratiFied or affirmed were fair and reasonable to the beneficiaries.

         2a             Kadisha asks that he be excused from surcharge"under Probate Code stdion 1b440 {b}.for
         zs
                Petitioners ' Toss when he failed to act to preserve the value of Truss 1 ' s Qualconun stock during
         26
                its 200f} freefall because his conduct as Tnsstee "was in good faith ." Although his closing brief
         zr
         ^ concludes that the evidence at trial established Eris good faith, it does not point to s single piece


                                                      STATF.M^N'i' 08 DECISION                           _ - - . - _- 1

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                                                                                                                          i^
                                                 ^^^^^^^^^^         1'1
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                     ,k  3
                                                                                 `..   ^




                               ^^



               of evidence that does so, Tv the contrary, PedtioneTS graved by clear and convincing evidence
          2
               that Kadisha did not act izt good faith and that he retaliated against Petitioner's.
          3

          .4

          s    CONCLUSION

          5            f'rorn the inception of the Trusts. Kadisha totally ignored the Trusts' terms, L?eCastro's

          7    memorandum detailing his dudes as a trtlsiee, his fiduciary duties. and his duty of loyalty in
          B
               favor of liis awn economic self-interesi. Even a perfunctory review of his defenses exposes their
          4
               defects. No respondent could, in good faith , believe that the statute of limitations or the other
         to
         tl    asseried defenses would bar Petitioners' claims. 'Kadisha's acts and omissions Were flagrant,

         J2    numerous and deceptively hidden. Kadisha's actions are not wo+Rhy of reward, but, to tht

         t3
               contrary, call for compensation , the disgorgement of profrts and punitive damages.
         t4
                       Kadisha has the arrogance to ask equity to uphold praovisians in the tnrst agreements
         JS
               which inure to his benefit: Cheat Dafna' s trust Steal from Dafna ' s trust. Take from Dafna's
         t6

         17    trust what you want for personal gain. Kadisha lost any such rights. Equity ulxder the

         18    cinumstanees will give to Dafna and her children any benefits of the trust agnximents. Kadisha '^
         l9
               forfeited arty considerations in his favor by his dishonest and deceitful conduct.

                       Kadisha attempts to make 8 mark against Dafna because.in mid - 1999, Dafna employed
         2l
               Krone ^ Smith. Kadisha neglects to mention that Dafna went to Krone ^ Smith m enforcement
         22
         23    ^ of certain provisions in Trust 2 that she be paid ^30Q,000, and she had not received said stun at

  A
         za    ^ any time. Little did Krone & Smith know or have any inkling at that time of what a can of
         23
               ;worms they had gotten thepaselves into. obviously, they did not imow of the many derelictions
         26
               Ii of Kadisha as trustee of Tout 1 or Trust 2, yet Kadisha accuses them of playing "dog ill the
         27

         zs    manger,"waiting to see if Qualcomm stock would rise or fall . He further charges that'Ylo



                                                     STA'i'F.i^SEN'r' Utr flBC15ION

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                                                 ^n^-id^f ^ . __ ____!_^.^.._,.___.._^..._.._ _.
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                           ^    ^                                            ^, ... ^



                                 ^}                                        ^^
            1   professional or lay trustee should be subject t4 such "Heads-I-win, tails-you-lose" conduct. The
           z
                foregoing accusation is pure desperation on behal€ of Kadisha. it is an attack on the uxoral fiber
           '3
                of Krane ^ Smith, who have represented Dafrta and her childn+n with extraordinary. excxlleace,
           4

           s
                reficctis^g bath Iegal ability and the very best of moral character.

           6           Samuel Krane of liCxane $ Smith shall now cause to be prepazed a judgment based upon
           7    this Statement of Decision. Said judgment shall be filed and served withal 15 days from tlc date
           s
                of anailing of ibis Statement of Decision, but Krane may crquest additional time from the court
           v
                (ea pane) upon good cause being spawn. '
          ya
          3If

          t2    Dated: October 24, 2006                         ^e^'+ry S^a^"rCa ^_
                                                               Honorable Henry W. Shatfard (A)
          l3
                                                               fudge of the Los Angeles Superior Caurt^
          !4

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